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                                      18
                                                                   IN THE UNITED STATES DISTRICT COURT
                                      19
                                                                       NORTHERN DISTRICT OF CALIFORNIA
                                      20

                                      21
                                           XPERTUNIVERSE, INC.,                              Case No. 17-cv-3848
                                      22   a Delaware Corporation,
                                                                                             REQUEST FOR JUDICIAL NOTICE IN
                                      23                  Plaintiff,                         SUPPORT OF PLAINTIFF
                                                                                             XPERTUNIVERSE, INC.’S OPENING
                                      24          v.                                         CLAIM CONSTRUCTION BRIEF
                                      25   CISCO SYSTEMS, INC.,                              Date: July 27, 2018
                                           a California Corporation,                         Time: 10:30 a.m.
                                      26                                                     Courtroom: 3
                                                          Defendant.                         Judge: Hon. Richard Seeborg
                                      27
                                      28
                                                                                         1
                                                          REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFF’S OPENING
                                                                           CLAIM CONSTRUCTION BRIEF
                                            Case 3:17-cv-03848-RS Document 106-1 Filed 05/21/18 Page 2 of 244



                                       1          Pursuant to Federal Rule of Evidence 201, Plaintiff XpertUniverse, Inc. (“XpertUniverse”)
                                       2   by and through its attorneys of record, hereby requests that the Court take judicial notice of the
                                       3
                                           following documents in support of its Opening Claim Construction Brief:
                                       4
                                                  Exhibit A:      Order on Claim Interpretation, entered in United States District Court for
                                       5
                                                                  the District of Delaware, Case No. 1:09-cv-00157-RGA on March 20, 2013.
                                       6

                                       7          Exhibit B:      Joint Claim Construction Statement filed in the United States District Court

                                       8                          for the District of Delaware, Case No. 1:09-cv-00157-RGA on January 27,

                                       9                          2012.
                                      10
                                                  Exhibit C:      Plaintiff’s Opening Claim Construction Brief filed by XpertUniverse, Inc.
THREE EMBARCADERO CENTER, 7TH FLOOR




                                      11
  BRYAN CAVE LEIGHTON PAISNER LLP




                                                                  in the United States District Court for the District of Delaware, Case No.
      SAN FRANCISCO, CA 94111




                                      12
                                                                  1:09-cv-00157-RGA on February 15, 2012.
                                      13
                                                  Exhibit D:      Defendant Cisco Systems, Inc.’s Responsive Claim Construction Brief filed
                                      14

                                      15                          by Cisco Systems, Inc. in the United States District Court for the District of

                                      16                          Delaware, Case No. 1:09-cv-00157-RGA on February 29, 2012.
                                      17          Exhibit E:      Plaintiff’s Reply Claim Construction Brief filed by XpertUniverse, Inc. in
                                      18
                                                                  the United States District Court for the District of Delaware, Case No. 1:09-
                                      19
                                                                  cv-00157-RGA on March 7, 2012.
                                      20
                                                  Exhibit F:      Transcript of Markman Hearing before Judge Richard G. Andrews, in
                                      21

                                      22                          United States District Court for the District of Delaware, Case No. 1:09-cv-

                                      23                          00157-RGA, held on March 15, 2012.

                                      24          Exhibit G:      Memorandum Order, entered in United States District Court for the District
                                      25                          of Delaware, Case No. 1:09-cv-00157-RGA on April 20, 2012.
                                      26
                                                  Federal Rule of Evidence 201(b) allows this Court to take judicial notice of any fact “not
                                      27
                                           subject to reasonable dispute because it” is either (1) “generally known within the trial court’s
                                      28
                                                                                             2
                                                          REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFF’S OPENING
                                                                           CLAIM CONSTRUCTION BRIEF
                                            Case 3:17-cv-03848-RS Document 106-1 Filed 05/21/18 Page 3 of 244



                                       1   territorial jurisdiction” or (2) “can be accurately and readily determined from sources whose
                                       2   accuracy cannot be reasonably be questioned.”
                                       3
                                                    This Court may take judicial notice of pleadings and court orders in related proceedings.
                                       4
                                           Asdar Group v. Pillsbury, Madison & Sutro, 99 F.3d 289, 290 n. 1 (9th Cir. 1996). This Court
                                       5
                                           may therefore take judicial notice of the pleadings and court orders from the related proceeding
                                       6

                                       7   attached as Exhibits A, B, C, D, E, and G. Additionally, this Court may take judicial notice of

                                       8   court transcripts from related proceedings because the contents of the transcripts can be

                                       9   “accurately and readily determined from sources whose accuracy cannot be reasonably
                                      10
                                           questioned.” Allstate Ins. Co. v. Pira, No. C 11-3511 CW, 2012 WL 1997212, at *4 (N.D. Cal.
THREE EMBARCADERO CENTER, 7TH FLOOR




                                      11
  BRYAN CAVE LEIGHTON PAISNER LLP




                                           June 4, 2012). This Court may therefore take judicial notice of the markman transcript attached as
      SAN FRANCISCO, CA 94111




                                      12
                                           Exhibit F.
                                      13

                                      14

                                      15   Dated:    May 21, 2018                        BRYAN CAVE LEIGHTON PAISNER LLP
                                      16                                                 By: /s/ Joseph J. Richetti
                                                                                             Joseph J. Richetti
                                      17                                                     Attorneys for Plaintiff
                                      18                                                     XPERTUNIVERSE, INC.

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                                                           REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFF’S OPENING
                                                                            CLAIM CONSTRUCTION BRIEF
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                 EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 XPERTUNNERSE, INC.,                              )
                                                  )   Civil Action No. 09-157 (RGA)
                          Plaintiff,              )
                                                  )
                vs.                               )   JURY TRIAL DEMANDED
                                                  )
 CISCO SYSTEMS, INC.,                             )
                                                  )
                          Defendant.              )

                            ORDER ON CLAIM INTERPRETATION

               Below are the meaning of some of the words of the claims of the '709 and '903

Patents that are at issue in this case. These definitions must be accepted as correct. For any

words in a claim for which no definition is provided, their common meaning should be applied.

               The following definitions govern for terms in the '709 patent:

                      •     "subject list style" means "a representation of the logical structure of a

               list of inquiry criteria and values and their respective relationships."

                      •     "inquiry type(s)" means "question topics"

                      •     "inquiry criteria" means "pre-selected subject categories"

                      •     ''underlying criteria" means "subject categories"

                      •     ''values" means "choices"

                      •     "interactive problem definition page" means "an interactive graphical

               user interface"

                      •     "inquiry criteria values" means "preselected subject category choices"

                      •     "plurality of monitors" means "two or more monitors"
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                      •   "the processor being configured to extract unique combinations from

               the database and evaluate the combinations" means "the processor being

               programmed to extract unique combinations from the database and evaluate the

               combinations."

                      The following definitions govern for terms in the '903 patent:

                      •   "having a one-to-one correspondence" means "satisfying the property

               that each member of each of the one or more layers of inquiry types maps exactly

               to a predetermined semantically expressed inquiry type"

                      •   "predetermined semantically-expressed inquiry type" means "terms

               that organize and identify categories of assistance requested, created prior to use

               and expressed using language that is humanly understandable"

                      •   "underlying plurality of criteria groupings" means "two or more

               groups of underlying criteria"

                      •   "layer(s) of inquiry type(s)" means "a defined set of predetermined

               semantically expressed inquiry types"


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!
                      •   "inquiry type(s)," in the context of the '903 patent only, means

               "term(s) that organize and identify categories of assistance requested, created
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1
               prior to use and expressed using language that is humanly understandable"

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f                     IT IS SO ORDERED this ')()           day of March, 2013.
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i
                                                       ({JQ}I0~
l                                                    United States District Judge

    1099063



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                 EXHIBIT B
      Case 3:17-cv-03848-RS
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      Case 3:17-cv-03848-RS
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                         Document 124 106-1  Filed 05/21/18
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                                                             of 32 10 of 244#: 2136
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 124 106-1  Filed 05/21/18
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                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 124 106-1  Filed 05/21/18
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                                                             of 32 12 of 244#: 2138
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                         Document 124 106-1  Filed 05/21/18
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                                                             of 32 13 of 244#: 2139
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 124 106-1  Filed 05/21/18
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                                                             of 32 14 of 244#: 2140
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 124 106-1  Filed 05/21/18
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                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 124 106-1  Filed 05/21/18
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                                                             of 32 16 of 244#: 2142
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      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                             of 3217 of 244#: 2143
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                             of 3218 of 244#: 2144
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                             of 3219 of 244#: 2145
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 13Page
                                                             of 3220 of 244#: 2146
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                             of 3221 of 244#: 2147
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 16Page
                                                             of 3223 of 244#: 2149
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                             of 3224 of 244#: 2150
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 18Page
                                                             of 3225 of 244#: 2151
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 19Page
                                                             of 3226 of 244#: 2152
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 20Page
                                                             of 3227 of 244#: 2153
                                                                   PageID
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 21Page
                                                             of 3228 of 244#: 2154
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                             of 3229 of 244#: 2155
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 23Page
                                                             of 3230 of 244#: 2156
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 24Page
                                                             of 3231 of 244#: 2157
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 25Page
                                                             of 3232 of 244#: 2158
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                             of 3233 of 244#: 2159
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 27Page
                                                             of 3234 of 244#: 2160
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 28Page
                                                             of 3235 of 244#: 2161
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                             of 3236 of 244#: 2162
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 30Page
                                                             of 3237 of 244#: 2163
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
                                                     Page 31Page
                                                             of 3238 of 244#: 2164
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-101/27/12
                                 124 Filed  Filed 05/21/18
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                                                                   PageID
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                         Document 131 106-1  Filed 05/21/18
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                                                             of 26 41 of 244#: 2528
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 131 106-1  Filed 05/21/18
                                      Filed 02/15/12  Page 2Page
                                                             of 26 42 of 244#: 2529
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 131 106-1  Filed 05/21/18
                                      Filed 02/15/12  Page 3Page
                                                             of 26 43 of 244#: 2530
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 131 106-1  Filed 05/21/18
                                      Filed 02/15/12  Page 4Page
                                                             of 26 44 of 244#: 2531
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 131 106-1  Filed 05/21/18
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                                                             of 26 45 of 244#: 2532
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      Case 3:17-cv-03848-RS
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                         Document 131 106-1  Filed 05/21/18
                                      Filed 02/15/12  Page 6Page
                                                             of 26 46 of 244#: 2533
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 131 106-1  Filed 05/21/18
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                                                             of 26 47 of 244#: 2534
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 131 106-1  Filed 05/21/18
                                      Filed 02/15/12  Page 8Page
                                                             of 26 48 of 244#: 2535
                                                                   PageID
      Case 3:17-cv-03848-RS
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                         Document 131 106-1  Filed 05/21/18
                                      Filed 02/15/12  Page 9Page
                                                             of 26 49 of 244#: 2536
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
                                                     Page 10Page
                                                             of 2650 of 244#: 2537
                                                                   PageID
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
                                                     Page 11Page
                                                             of 2651 of 244#: 2538
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                             of 2652 of 244#: 2539
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
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      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
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      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
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                                                             of 2655 of 244#: 2542
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                             of 2658 of 244#: 2545
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                             of 2659 of 244#: 2546
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                             of 2661 of 244#: 2548
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
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                                                                   PageID
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                             of 2663 of 244#: 2550
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                             of 2664 of 244#: 2551
                                                                   PageID
      Case 3:17-cv-03848-RS
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                        Document     106-102/15/12
                                 131 Filed  Filed 05/21/18
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                                                             of 2665 of 244#: 2552
                                                                   PageID
      Case 3:17-cv-03848-RS
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                 EXHIBIT D
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     1                    IN THE UNITED STATES DISTRICT COURT

     2                    IN AND FOR THE DISTRICT OF DELAWARE

     3                                        - - -

     4
            XPERTUNIVERSE, INC.,                 :     CIVIL ACTION
     5                                           :
                                Plaintiff,       :
     6                                           :
                  vs.                            :
     7                                           :
            CISCO SYSTEMS, INC.,                 :
     8                                           :
                                Defendant.       :     NO. 09-157 (RGA)
     9

   10
                                               - - -
   11
                                              Wilmington, Delaware
   12                                         Thursday, March 15, 2012
                                              9:05 o'clock, a.m.
   13
                                               - - -
   14
           BEFORE:    HONORABLE RICHARD G. ANDREWS, U.S.D.C.J.
   15
                                              - - -
   16
           APPEARANCES:
   17
                          POTTER ANDERSON & CORROON LLP
   18                     BY: PHILIP A. ROVNER, ESQ.

   19
                                      -and-
   20

   21

   22

   23

   24                                                    Valerie J. Gunning
                                                         Official Court Reporter
   25
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     1     APPEARANCES (Continued):

     2

     3                    STROOCK & STROOCK & LAVAN LLP
                          BY: CHARLES E. CANTINE, ESQ. and.
     4                         WILLIAM J. SEYMOUR, ESQ.
                               (New York, New York)
     5

     6                          Counsel for Plaintiff

     7

     8
                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
     9                    BY: JACK B. BLUMENFELD, ESQ.

   10
                                      -and-
   11

   12                     MORGAN LEWIS & BOCKIUS LLP
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   13                          RACHEL M. WALSH, ESQ.
                               (San Francisco, California)
   14

   15                           Counsel for Defendant

   16
                                      - - -
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     1                          P R O C E E D I N G S

     2

     3                    (Proceedings commenced in the courtroom at

     4     9:05 a.m.)

     5

     6                    THE COURT:    Good morning.      Please be seated.

     7                    (Counsel respond, "Good morning, your Honor.")

     8                    THE COURT:    So this is the Markman hearing in

     9     XpertUniverse, Inc. versus Cisco Systems, Inc., Civil Action

   10      No. 09-157.

   11                     Can counsel introduce themselves?

   12                     MR. ROVNER:     Good morning, your Honor.        Phil

   13      Rovner from Potter Anderson on behalf of the plaintiff,

   14      XpertUniverse.     And with me at counsel table from Stroock &

   15      Stroock & Lavan, Charles Cantine and William Seymour.

   16                     THE COURT:    Good morning.

   17                     MR. BLUMENFELD:     Good morning, your Honor.

   18                     THE COURT:    Mr. Blumenfeld?

   19                     MR. BLUMENFELD:     Jack Blumenfeld from Morris

   20      Nichols for defendant Cisco Systems with Brett Schuman and

   21      Rachel Walsh from Morgan Lewis in San Francisco, and with

   22      the Court's permission, they're planning on splitting up the

   23      terms this morning.

   24                     THE COURT:    That's fine.

   25                     So basically my clerk will keep time.          Each side
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     1     has 80 minutes.      Okay?

     2                    So I assume either Mr. Cantine or Seymour, one

     3     of you is starting?

     4                    MR. CANTINE:     Yes, your Honor.

     5                    THE COURT:    I guess Mr. Cantine.

     6                    MR. CANTINE:     Thank you, your Honor.

     7                    Before I start, I just wanted to, if I may,

     8     introduce in the back in the courtroom here, we have Victor

     9     Friedman, who is the President and CEO of XpertUniverse, his

   10      son, Alex Friedman, and next to him is John Steinhoff, one

   11      of the inventors of the patent.

   12                     THE COURT:    All right.

   13                     MR. CANTINE:     I just wanted to let you know they

   14      were here.

   15                     I think before we get into the nitty-gritty on

   16      the claim construction issues, I was going to give you a

   17      little background.      I think we all know who Cisco is.

   18      Right?    They're a multi-billion dollar corporation with tens

   19      of thousands of employees.

   20                     THE COURT:    I don't really need the background,

   21      who the parties are.

   22                     MR. CANTINE:     Okay.   If I could give you a

   23      little bit on XpertUniverse, because I think it's important

   24      in the context of what we're talking about.

   25                     THE COURT:    I doubt it, but if that's how you
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     1     want to spend your time, go ahead.

     2                    MR. CANTINE:     Okay.   Well, let's move on.

     3                    I think if you've read the briefings, you've

     4     seen that the parties worked together for two-and-a-half

     5     years.     Okay?   And this wasn't a case where XpertUniverse, a

     6     small company, went knocking on the door of a big company.

     7     This is Cisco that came to XpertUniverse and said, we know

     8     you have some technology; we're interested in it.

     9                    The companies signed a nondisclosure agreement

   10      and worked together for two-and-a-half years.            And they

   11      were in daily contact at all levels of the company.

   12      Technical people from XpertUniverse visited Cisco, Cisco

   13      visit XpertUniverse.       And eventually, before XpertUniverse

   14      could finish the development efforts, Cisco told them

   15      they weren't interested in the product anymore, or the

   16      project.

   17                     Unbeknownst to XU, Cisco filed patent

   18      applications and what they learned from XpertUniverse, and

   19      later introduced their accused products in 2008.             And that

   20      was the first time XpertUniverse ever heard about any of

   21      this.    They thought Cisco had abandoned the project, but

   22      obviously they hadn't.

   23                     So why don't we jump right up into slide 5.

   24      We'll go through some of what products that were out there

   25      existed before XU and how the XU patents differentiate from
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     1     that.   Before we do that, though, we have to talk about some

     2     terminology.

     3                    First, the patents talk about seekers, and these

     4     were people that are looking for assistance.            And as this

     5     slide depicts, these seekers can be people both within the

     6     organization as well as people outside the organization,

     7     such as customers.

     8                    And then you secondly have what the patents call

     9     experts, sometimes referred to as subject matter experts.

   10      And these are people within the organization that have

   11      knowledge that is relevant to a seeker's inquiry.             And the

   12      fundamental issue that XU's '903 patent addresses is how

   13      best to connect those seekers to those experts so that they

   14      can help them find the solution to whatever it is they're

   15      looking for.

   16                     And this is a big problem because the enterprise

   17      would allocate just a few experts that are dedicated to

   18      helping seekers, and they put them in the call center, which

   19      we've put in the upper right hand corner of that box there.

   20      And these are people that would typically answer an 800

   21      number-type thing.      You call an 800 number to -- you have a

   22      problem, and you're going to get connected to one of these

   23      experts within the call center.

   24                     But XpertUniverse recognized, and as this slide

   25      depicts, that there's this vast knowledge base of experts
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     1     within the organization that are not in the call center, and

     2     therefore are not being utilized to answer customer

     3     inquiries.    And so this is a wide body of knowledge that was

     4     available that was just not being utilized.

     5                    And so the '903 patent really is a whole new way

     6     of thinking about the expertise within the company and

     7     connecting the seekers to any of the expertise to get them

     8     the answers they need.

     9                    So let's talk a little bit more about how these

   10      call center-type of operations work.          And what typically the

   11      companies have done to connect seekers to is create these

   12      pools of experts.      So we've put circles around these pools

   13      of people within the call center.

   14                     And so this has taken experts that have a

   15      similar knowledge base and putting them together in these

   16      pools and then locating these pools of experts within a call

   17      center.    And this makes a lot of sense for certain types of

   18      companies that maybe only offer a few limit number of

   19      products, because you can have a few pools and then you can

   20      take some of your experts and isolate them into those pools.

   21      If you have just a few categories, the system is easy to

   22      manage, because every time a seeker comes in, you can

   23      connect them to one of these limited number of pools.              And

   24      that sounds great, but it has a number of limitations.              One

   25      you can see right away that not all the experts again are
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     1     being utilized to answer these customer inquiries.              Thus,

     2     you're not taking advantage of all the expertise in the

     3     company.

     4                    Now, if we go to the next slide, we've

     5     highlighted here some of the major problems with this pool

     6     base approach.     Again, first, access to the expertise is

     7     limited to call centers.        When you do this pool-based

     8     approach, you have these large areas of untapped areas of

     9     expertise.    And you have these pools, as depicted here.             You

   10      only have three kinds of expertise.          Right?    They're in the

   11      company.    If the experts within the rest of the organization

   12      don't fit into those narrow molds, then you've left them

   13      out.

   14                     And there's also what the patent refers to as a

   15      big scaling problem, and that's one of the big innovations

   16      of the XpertUniverse technology.         And the types of pools and

   17      the pool approach creates a significant maintenance

   18      challenge, because every time an expert's skills change or

   19      an expert leaves, or they learn something new --

   20                     THE COURT:    This is what the patent refers to as

   21      a data entry problem?

   22                     MR. CANTINE:     Well, it's related to that, your

   23      Honor, but this is kind of background of what the -- what

   24      existed out there, what Cisco's expert claims that the XU

   25      patents are all about.       He thinks that this call center
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     1     technology, what I'm trying to go through here is to -- to

     2     explain to you in a way that the XpertUniverse patents are

     3     not related to call centers.         It's a different animal

     4     altogether.     In fact, it was designed to get rid of the

     5     entire pool approach and this contact center altogether.

     6                    And these pool -- let's go back, if you could.

     7                    It creates a substantial maintenance challenge,

     8     is what I was getting at, right, because these pools are

     9     limited, people coming in and out all the time.             Companies

   10      change, you have to create new pools, so it becomes a big,

   11      big problem.

   12                     So now the XpertUniverse solution -- go to the

   13      next slide, Bill.      All right.

   14                     It gets away with the pools altogether.           It puts

   15      a box in the middle here, and we'll go into that in detail,

   16      what that box is.      But it avoids all the limitations to

   17      having pools.     And instead, it's inclusive.         It allows the

   18      seekers to have expert access to the expertise throughout

   19      the entire company, and to do that, it created this new

   20      technology, which we've labeled there XU's '903 patent.

   21                     And this technology, it enables the system to

   22      interactively understand exactly what the seeker's questions

   23      are and interactively connect them to the expertise within

   24      the company.     So now when we dive in, we'll see why that's a

   25      good idea and how it works.
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     1                    So the benefits of having the single technology,

     2     right, that box in the middle as opposed to the pools,

     3     again, those enable the seekers to have all access to all of

     4     the expertise within the company.          By having just a single

     5     maintenance point, it's much more flexible.            And because

     6     it's flexible, it's also easier to manage.           It's inclusive

     7     of all the seekers and all the experts because it can reach

     8     out to every expert within the company.           And it's inclusive

     9     to seekers because, as we'll see in a little bit, basically,

    10     the form that the seeker is going to fill out in order to

    11     try to find the right expert is an interactive form that's

    12     based on real-time information, and it's a customized form.

    13     It's a customized form of every seeker.           And that's one of

    14     the real benefits behind the technology behind both the

    15     '903 and the '709 patent and is a way for the system to

    16     adapt that form based upon information it knows about that's

    17     coming into that system based on that seeker.

    18                    And then the other concept that's behind both

    19     patents is this concept of best available expert.             And this

    20     means that the system is able to figure out exactly what the

    21     needs of the seeker are and then use that to select the best

    22     available expert.

    23                    And, of course, the benefits to the company are

    24     tremendous.     Customer satisfaction goes up because you get

    25     to the right person at the right time and the cost of
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     1     delivery goes down because you're more efficiently

     2     connecting questions with answers.

     3                    So now let's go through some of the technology

     4     behind that box.      And this, again, is what the '903 patent

     5     is directed towards.

     6                    First of all, to understand what questions a

     7     seeker needs answers for, we have to understand the scope

     8     and the type of the question.         All right?    And this is a

     9     major innovation of the patent.         It's an idea of interactive

    10     criteria definition page, or what the patent sometimes

    11     refers to as this get assistance page.           And the concept is

    12     that based on all kinds of information about the seeker and

    13     the company, the technology can create this interactive form

    14     that the seeker is able to fill out, and as they fill out

    15     the form, the system gets a better and better idea of the

    16     particular question that they have.

    17                    And that leads to the next element, these

    18     inquiry types.      Again, these are terms that are within the

    19     claims that we're going to talk about.

    20                    And so the use of this interactive definition

    21     page permits the system to generate what the patent calls an

    22     inquiry type; and the inquiry type basically says, here's

    23     the type of question I need answered.

    24                    And once the system generates that particular

    25     inquiry type, then it's able to use a routing identifier,
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     and we'll talk more about that later.          But that routing

     2     identifier permits the system to select exactly the type of

     3     experts from the skill-set database that may have relevant

     4     knowledge to answer the question of the seeker.

     5                    And so this is, again, about interactively

     6     extracting from the seeker the most efficient way possible

     7     the specific question they have and then turning that

     8     extracted question in the best possible identification of

     9     which experts can assist in solving that problem.

    10                    And the last element up there is the skill-set

    11     database.    And this is really important because it has to

    12     have all the right information within it so that it can

    13     connect the inquiry type to the particular expert.

    14                    And now one of the key novelties of this system

    15     is its flexibility.       And one of the key elements of that

    16     flexibility is it's able to be used by different types of

    17     seekers.    And that is by using these inquiry types and

    18     routing identifiers, the system allows us to be able to form

    19     the kinds of question that many different seekers ask, and

    20     this is depicted in the next slide.

    21                    So this shows an example of that flexibility.

    22                    Now, suppose you have someone coming in from the

    23     sales department, and we see him on the left there, and we

    24     have another person coming in from the engineering side.

    25     And basically these two people have the same question.
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     They're looking for the same expertise, but they're doing it

     2     in a different way.       And so how does the system handle this?

     3                    Well, the system automatically creates this get

     4     assistance page for the sales seeker based on his log-in

     5     information.     The system knows he's from within the

     6     organization.     He's from sales.      He creates this get

     7     assistance page, this interactive form specifically for

     8     him.   And it does the same for the engineer.           When the

     9     engineer logs in, the system knows he's coming from

    10     engineering, he's from within the company.           It creates a

    11     customized form for the engineer.

    12                    Now, the types of questions and the way we're

    13     going to lead them to those inquiry types is different.              A

    14     salesperson may come at it from product names whereas an

    15     engineer may come at it from product numbers.            At the end,

    16     they're both looking for the same thing.

    17                    So we get to customize the forms these two

    18     people get in order to most efficiently capture exactly what

    19     it is they're looking for.        And once those selections are

    20     made, it results in these inquiry types being generated.

    21     And the sales seeker will make his selections and he'll get

    22     his inquiry type, the engineer will make his selections and

    23     he'll get his inquiry type.

    24                    Now, again, in this example they're both looking

    25     for the same type of expert.        So basically they have the
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     same question, but they're coming at it from two different

     2     angles.    And one of the key points of novelty of this

     3     technology is these inquiry types that are generated from

     4     those get assistance page relate to one another.             And they

     5     relate to one another in such a way that the routing

     6     identifier can forward the sales path, can still be used on

     7     the engineering side.       You don't have to rebuild that top --

     8     the top of that graphic here.         Right?   We don't have to go

     9     from the inquiry type on the engineering to another routing

    10     and identifier to the skill-set database.           It simply

    11     piggybacks on the one from the sales side.           And that

    12     provided a lot of flexibility into the system, because

    13     different kinds of seekers can come in and customize the

    14     forms that they interface with and actually specify the

    15     question.    And yet all of the smarts of the system that

    16     generate that routing identifier and looking through the

    17     skill-set database can find the best available expert,

    18     connect the expert to that seeker.          All of that technology

    19     remained in place and useful even if you add the different

    20     types of seekers.

    21                    So I mean that's an overview of the '903 patent.

    22     We'll get into more of the specific details.            But I was

    23     going to jump to the '709 patent.

    24                    THE COURT:    All right.     Are you planning on

    25     basically just using your 80 minutes and then turning it
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     over to them?

     2                    MR. CARMINE:     I was going to run through, your

     3     Honor, now to the background and overview of the '709

     4     patent, some of the differences between the patents and the

     5     prior art, and I will jump into the claim terms.             I'm not

     6     going to go through all 22.

     7                    THE COURT:    I guess I'm just wondering how are

     8     the parties are envisioning -- you're going to use your 80

     9     minutes and then give it over to them.

    10                    MR. CARMINE:     I am going to reserve probably 10,

    11     15 minutes, and I will give it over to them, and I may have

    12     a short rebuttal, if I may.

    13                    THE COURT:    All right.

    14                    MR. SEYMOUR:     May I hand up this slides?

    15                    THE COURT:    Two copies here?      I assume these are

    16     just the slides you're using?

    17                    MR. CANTINE:     Yes.

    18                    MR. SEYMOUR:     Yes.

    19                    THE COURT:    All right.

    20                    (Mr. Seymour handed slides to the Court.)

    21                    MR. CANTINE:     So the '709 patent, your Honor,

    22     it's also about how you connect the seeker to an expert.

    23     But it concentrates on basically one aspect of that process,

    24     and that's that get assistance page we were looking at.

    25                    So it's all about how you formulate the
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     question, how the seeker formulates the question.             In other

     2     words, how do we extract from the seeker exactly what it is

     3     they're looking for.       And it sounds simple, but it is

     4     actually a very difficult problem.          And there are two

     5     approached people have used and continue to use, each of

     6     which have serious limitations.         And these are the prior art

     7     systems that Cisco's expert refers to in his declaration and

     8     makes the assertion that essentially XpertUniverse's

     9     technology is just old technology that other people are

    10     doing.

    11                    So I want to quickly walk through those two

    12     prior approaches and point out to you how the XpertUniverse

    13     solutions the different.

    14                    In one approach, what might be called the

    15     limited selection approach is, the seeker calls into an 800

    16     number, and you get the typical press one for that, press

    17     two for that, press three for that.          We've all used those

    18     types of systems.      They're not very efficient.        You press --

    19     you listen to the options, they're not really what you are

    20     look looking for.      Maybe you press one, you go down that

    21     path, you don't get what you want, you press two, go down

    22     that path.     You start hitting zero, try to get an operator,

    23     you get frustrated and hang up.

    24                    And that's what these kind of, what we would

    25     call, or are referring to as these limited selection-type
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
                                                     Page 17Page  126
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     1     systems.    And it's just not practical.         They have just a

     2     small number of options and they don't work well for a

     3     company that has a large product or a large service

     4     offering.    So they're inefficient.        They leave poor

     5     customer satisfaction.       And they're just completely

     6     different from what the XpertUniverse '709 patent is

     7     directed towards.

     8                    Now, there's another option, which is sort of

     9     the opposite which is commonly used, and this is what

    10     Cisco's expert refers to as knowledge management systems.

    11     And so let's take a look at those.

    12                    Essentially what's here is the company provides

    13     the seeker with basically a big magnifying glass.             What they

    14     do, they throw a whole bunch of documents at you and say,

    15     all right.     We think we know what your question is.          We have

    16     this repository of documents.         We think these documents

    17     might help you with your question.          And essentially they

    18     force the seeker to go through and look at all these

    19     documents, try to find if one is relevant.           If it's

    20     relevant, then the seeker can go up and figure out who the

    21     author is.     If they can find the authorization, they can try

    22     to find the phone number to contact the author.            Often, the

    23     author isn't around anymore.        He might have left the

    24     company.

    25                    So these are very inefficient, indirect,
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
                                                     Page 18Page  127
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     1     imprecise systems.      It requires a huge amount of work of the

     2     seeker.    You're forcing the seeker to go scan all these

     3     documents.     These documents may be out of date.         Obviously,

     4     not -- all of the not all of the expertise within the

     5     company is going to be documented anyway, so it's not

     6     offering the full solution.

     7                    And so the '709 patent breaks away from both

     8     these types of prior art systems.          So let's take a look at

     9     some of that.

    10                    The idea behind it is this new technology that

    11     permits the seeker to interactively define the problem in

    12     just the right way.       So the system can create an answer

    13     basically to what the seeker really needs is X.            And that's

    14     the issue.     Right?   How are we going to help the seeker to

    15     find exactly what the problem is?          And the invention

    16     provides a standardized way to do that, to capture that from

    17     the seeker.     In other words, interactively extract from the

    18     seeker all the necessary data in this nice, standardized

    19     form in a way that the system can then use that to generate

    20     later that inquiry type and use the routing identifier, to

    21     go to the skill-set database.

    22                    So the two patents kind of overlap in that

    23     sense.    The '709 patent is really that get assistance page.

    24     The '903 patent is more the broader full concept.

    25                    So some of the benefits.       Right?    It's more
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     precise.    It's translated to real need of the seeker in real

     2     time and it's providing a much better chance of success in

     3     connecting the seeker with the right expert.

     4                    Let's go to the next slide.

     5                    One of the other real benefits of this

     6     interactive problem definition page is that it's directly

     7     controlled by the company.        Now, this is important because

     8     it provides the flexibility for the company to customize

     9     that page for different types of seekers.           And because the

    10     company is designing in how to interact how the process

    11     works, you can actually design in a way to customize it for

    12     different seekers, whether they're speaking different

    13     languages, coming from different corporate units or from

    14     different market segments within the company.

    15                    Now let's take a look at some of the details

    16     behind it.     And these are some of the claim terms you'll

    17     see.   By the way, your Honor, I should point out on the

    18     bottom, we've pointed, provided the Court with citations to

    19     the intrinsic record for support of all of these.

    20                    So now we've taken that interactive problem

    21     definition page, that gets us to the answer page, and we're

    22     blowing it up here to explain some of the terms used in the

    23     patent and how this all ties in together.

    24                    So the fundamental idea, we have all of this

    25     knowledge that's maintained by the enterprise.            In this case
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     we can see seeker profile, criteria, values and style

     2     structure.     And the enterprise can use all of those fields

     3     in order to create this interactive page in order to extract

     4     from that seeker exactly what it is, what they're looking

     5     for.

     6                    So the seeker profile, we touched on that a

     7     little bit earlier.       But this allows the system to

     8     understand exactly how to ask all the right questions

     9     because it knows when somebody logs in where they're logging

    10     in from.    We saw that with sales engineering, the

    11     salesperson, the engineer, and most people to use a type of

    12     system like this, they have to log in user name, password.

    13     The system automatically knows where that person is coming

    14     from and can tailor the interactive page based on that

    15     information alone.

    16                    Now, criterion values and style structure,

    17     all components of that interactive form as well, and

    18     altogether these formulate the interactive form that the

    19     seeker is going to get, be presented with, and they're going

    20     to fill out.     And, again, the ultimate issue is, you know,

    21     trying to answer that question, what the seeker really

    22     needs.

    23                    So let's take a look at one of those forms,

    24     and this comes straight out of the '709 patent.            This is

    25     figure 2.
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1                    And this form is what is generated based on all

     2     of that logic we were just talking about, about the profile

     3     information, the criteria, the style sheet, and all that

     4     kind of stuff.      And when you look at this -- this, again,

     5     directly out of the patent, you can see it's labeled with

     6     some of the claim terms we're going to be talking about.

     7     Right?    Inquiry, criteria, values and subject style.

     8                    And so we see inquiry criteria on this form

     9     would be the line of business, major coverage and form of

    10     coverage.    Right?    Those would be inquiry criterias.          And if

    11     you look under this line business -- it's a little bit hard

    12     to see, but you can see here, this little arrow.             Right?

    13     Well, that represents a drop-down list.           Click on that, you

    14     get a bunch of choices.       Well, those choices, it would be

    15     under major coverage, the first to are values.            Those are

    16     the list of choices you have underneath that inquiry

    17     criteria, and then the subject style is just the overall

    18     form, style of that form.

    19                    So those, I think, I would hope you would agree

    20     with me, these are specific examples of, within the patent

    21     of some of the claim terms we're going to be talking about

    22     and exactly what they mean and how they're used and in the

    23     context of a patent.

    24                    So I think, your Honor, if I could, just to try

    25     together how the two patents work together, we'll walk
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     through a quick example of how someone might use the overall

     2     system.

     3                    So in this example, we have a claims agent.

     4     There's a policy question about mold in a policyholder's

     5     house in Texas, and this example comes directly out of the

     6     patent.

     7                    So how is a person like that going to use the

     8     system?    So they have this question, and now the first thing

     9     the seeker does in this case, this claims agent, he's going

    10     to lock into the system.        He's going to use his iPad or his

    11     iPhone or his computer.       He's going to log in and he's going

    12     to say, hey, I've got a question.          He's going to be

    13     presented with this get assistance page, and the system

    14     already knows that from his log-in information, again, that

    15     he's a claims agent.       He knows that he's from within the

    16     company.    And so the system will start to develop this

    17     particular get assistance page for him based on that

    18     information.

    19                    Now, the system uses everything it knows about

    20     them, right, to sort have been presented with this

    21     customized get assistance page.         And it's important to

    22     realize that this is an interactive form, because as the

    23     agent fills it out, one selection can have an impact on

    24     other selections.      The patent talks about these various

    25     values and the like, can be hierarchical, independent, or
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     some combination.      And this gives the company a lot of

     2     flexibility, and, again, extracting from that seeker exactly

     3     what that question is that they're looking for.

     4                    So let's go, again, let's step up to figure 2.

     5     Again, this is directly out of the patent.           We just saw

     6     this.    Again, this is another example in this case of that

     7     agent, insurance agent, trying to find out information about

     8     a policy that relates to mold.

     9                    So you see he has made certain selections of

    10     inquiry criteria.      He has chosen property.       The next one

    11     under coverage would be building, form of coverage basic.

    12     And then we'll see in 201(e) there, he selected mold.

    13     Right?    And that would be the inquiry criteria, special

    14     exposure.    Mold there would be the value.

    15                    Now, by filling out this form, the seeker is

    16     specifying as best he can the kind of question they have.

    17     And then using that, the system receives all of that

    18     information from the form and can therefore identify the

    19     inquiry type.     Again, the inquiry type is what exactly is

    20     this person looking for.

    21                    And the system now has all the information it

    22     needs in order to do -- to define that inquiry type and

    23     identify the routing identifier that is relevant to that

    24     inquiry type.     And then what it can then do is access the

    25     skill-set database to go ahead and search that skill-set
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     database to find all the experts that may have the relevant

     2     knowledge about mold policies for a property in Texas, and

     3     eventually the system finds the right experts and he puts

     4     them in contact with the agent.

     5                    That's kind of how the overall system works

     6     within the two patents.

     7                    Now I want to get into obviously why we're here.

     8     Right?    The purpose of this claim construction.

     9                    So the Court's role, right, is to define the

    10     proper scope of the invention.         And it does so by giving

    11     meaning to the claim language that the jury might not

    12     otherwise understand.

    13                    Now, this is important because regardless of

    14     what each party says, the Court does not need to construe

    15     terms that it does not think need to be construed.             That is

    16     if the patent uses common everyday language that the jury

    17     can understand in the context of the patent, then the Court

    18     does not need to act as a Thesaurus and simply substituting

    19     other words for the words in the claim if it does not add --

    20     if it wouldn't help the jury.

    21                    Another important point, obviously, that patents

    22     aren't necessarily written to laymen.          They are not written

    23     to me, they're not necessarily written to you.            They're

    24     written to what the law calls these people of ordinary skill

    25     in the art.
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1                    And so for terms that the jury might not

     2     otherwise understand, the role of the Court, then, is to

     3     instruct the jury on what those terms mean in the context of

     4     their use in the patent as they would be understood by one

     5     of ordinary skill in the art, which, of course, begs the

     6     question, who is this hypothetical person of ordinary skill

     7     in the art?

     8                    Each party has put forth some proposed

     9     definitions of what that person would be.           I'm not going to

    10     read them to you.      They're written in the briefs.         But, you

    11     know, XU's position is it has got to be someone with a

    12     Master's degree in computer science that would have some

    13     knowledge of what -- of data representation and structure

    14     of, data structure and design, because that's really the

    15     subject of patents.

    16                    Cisco's expert, on the other hand, has opined

    17     that someone with an electrical engineering degree or

    18     someone with a few years of experience in call center

    19     technology.     And we don't think either of those are correct.

    20     Electrical engineer, they know things like circuit designs,

    21     resistors and capacitors and filters and AC voltage and

    22     DC voltage.     That's just not what the patents are directed

    23     to.

    24                    And, similarly, we don't think someone with

    25     simply a call center technology background would be able to
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     comprehend and understand the full scope of the patents

     2     because, again, as I hope I've shown you, we're not directed

     3     to the call center.       We've knocked that whole model down.

     4     This is not a call center technology.          This is getting rid

     5     of the call centers altogether.

     6                    So Cisco initially identified 25 claim terms it

     7     thought the Court needed to construe.          Unless the Court

     8     thinks we -- all the parties were being completely

     9     unreasonable, we were able to agree on three of those claim

    10     terms initially.      Those terms were computer database, having

    11     one-to-one correspondence, and predetermined semantically

    12     expressed inquiry types.        And that's reflected in Exhibit A

    13     to the Joint Claim Construction Statement, which is that

    14     Docket No. 124.

    15                    Now, for the remaining 22 terms, 12 of them come

    16     from the '903 patent, ten come from the '709 patent.              And

    17     XpertUniverse's position is that many of those terms would

    18     be understood by the jury and don't need to be construed at

    19     all.   And for others, we would maintain that the ordinary

    20     meaning of those terms would be understood by one of

    21     ordinary skill in the art in the context of the patents.

    22     And, not surprisingly, Cisco disagrees.           In particular,

    23     their expert disagrees.       And in support of his opinion that

    24     these terms don't have an ordinary meaning, he apparently

    25     ran some Google searches.        And if he couldn't find a hit on
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     a particular term, he used that to support his opinion that

     2     it didn't have an ordinary meaning.

     3                    And we certainly disagree with running a Google

     4     search as relevant evidence of whether or not something has

     5     an ordinary meaning.       In fact, the relevant question for

     6     claim construction purposes is whether it has an ordinary

     7     meaning in the context of the patent, not in a vacuum or in

     8     a Google search.

     9                    So we would disagree with running a Google

    10     search as support to -- supporting an opinion about whether

    11     something has an ordinary meaning.          It's just not something

    12     that should be considered.

    13                    But let's go through, if we could, your Honor,

    14     some of those terms that XpertUniverse believes do not need

    15     to be construed.

    16                    First is the term match and route system, and

    17     those appears in claims 12 through 18 of the '903 patent.

    18                    We don't think it needs to be construed.

    19     Cisco's expert offers no opinion on how it should be

    20     construed.     And we think it's clear in the context of the

    21     '903 patent that it's a system that connects a seeker with

    22     an expert.

    23                    Claim 12 -- and, again, this is a phrase, I

    24     guess, some would say a term, but it's a phrase that appears

    25     in the preamble of the claim, and particularly claim 12.
      Case 3:17-cv-03848-RS
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     1     And that claim recites a match and route system operable to

     2     locate a live expert.

     3                    And these are common words.        I think the jury

     4     would understand them in the context of the '903 patent.

     5     That's what the subject matter of both patents really are,

     6     is connecting a seeker to an expert.          Match and route system

     7     is something simply -- you know, seek and find.            What other

     8     words are you going to use?        Match and route system I think

     9     is clear.    I don't think it needs to be construed.           I think

    10     the jury would understand it, particularly in the fact that

    11     it appears in the preamble of the claim.

    12                    THE COURT:    Since it appears in the preamble in

    13     all the claims from 12 to 18, I mean, it's not going to

    14     be -- even if it wasn't clear, is there a reason why I would

    15     need to construe it?

    16                    MR. CANTINE:     I don't think it needs to be

    17     construed at all.      I don't think it's a limitation, and it's

    18     like necessarily the body of the claim, that would be

    19     flawed.    But I think that the rest of the claim certainly

    20     says the metes and bounds.        The preamble is unnecessary of

    21     that.

    22                    THE COURT:    So basically your position is -- and

    23     I've heard you say also its ordinary meaning, but even if it

    24     didn't have an ordinary meaning, it's not part of the claim

    25     limitation, so why bother?
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1                    MR. CANTINE:     I would agree with that.       That

     2     would be our position.

     3                    THE COURT:    All right.

     4                    MR. CANTINE:     Turning to the next one, unique

     5     numeric routing identifier.        This is in claims 1 and 12 of

     6     the '903 patent.

     7                    And I think when considered in the context of

     8     the patent, a jury will readily understand what it means.

     9                    Cisco's expert -- I'm sorry.        Cisco's expert

    10     opines that the term is not common in the call center or

    11     knowledge management arts, but offers no opinion who how it

    12     should be construed in the context of the patent.

    13                    I think a layman would understand that this term

    14     is simply referring to a unique number, that that patent

    15     refers to a routing identifier.         If I can give you an

    16     example, Judge, a phone number.         And that's a unique number

    17     that is used to route telephone call to a particular person.

    18     I think these are common everyday terms that the jury can

    19     understand that would be used in the context of a patent and

    20     doesn't need to be construed.

    21                    The next one I want to talk about is values.

    22     This is in claims 1, 2, 3, 5, 6 and 7 of the '709 patent.

    23     Again, it's not a technical term.          Cisco's expert agrees

    24     that it has no specific meaning in the art, but he offers no

    25     opinion on how it should be construed.           And I think, as
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     we've gone through here today, we've pointed out how the

     2     patents provide specific examples of what a value is, and in

     3     the context of that, I think a jury would understand it.

     4     It's simply that the choices underneath those various

     5     inquiry criterias.

     6                    THE COURT:    Right.    Essentially, values means

     7     choices?

     8                    MR. CANTINE:     But you're just substituting --

     9                    THE COURT:    No, no.    I'm not saying -- it's your

    10     choice.

    11                    MR. CANTINE:     I think that's what it means, but

    12     when you try to add some language to that to try to really

    13     explain it, it just gets meaningless at the end.             It's a

    14     term I think the jury could understand, particularly when

    15     you look at a form like this and how it's labeled.

    16                    The next one is underlying criteria.          This is in

    17     claim 1 of the '709 patent.        Again, it's not a technical

    18     term.

    19                    Cisco's expert admits that it does not have any

    20     specific meaning in the art.        He also --

    21                    THE COURT:    What is it you think it does mean?

    22                    MR. CANTINE:     Well, if you look at -- and we've

    23     cited it for you here on the second-to-last bullet item.

    24                    If you look at it in the context of the claim,

    25     right, claim 1 says, creating a catalogue of inquiry types
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     classified by one or more underlying criteria.            So the

     2     underlying criteria, the core terms define what a user wants

     3     and what kind of expertise the company has.

     4                    THE COURT:    So what's the relationship between

     5     underlying criteria and inquiry criteria?

     6                    MR. CANTINE:     Inquiry criteria, I have to look

     7     exactly -- I want to make sure I get it right, your Honor.

     8                    Well, inquiry criteria is another one.          Inquiry

     9     criteria are similar to inquiry type.

    10                    THE COURT:    No, but I'm wondering, what's

    11     the relationship to inquiry criteria and underlying

    12     criteria?

    13                    MR. CANTINE:     Let me just take a look and see

    14     how we use it in a patent, your Honor.

    15                    (Pause.)

    16                    MR. CANTINE:     I'm sorry.    So the difference

    17     between inquiry criteria and inquiry types, was that the

    18     question?

    19                    THE COURT:    No.   Actually, inquiry criteria and

    20     underlying criteria.

    21                    MR. CANTINE:     Oh, well, I think they are

    22     similar.    The underlying criteria as used in this particular

    23     aspect of claim 1 relates to the inquiry types.            All right?

    24     And the underlying criteria, again, as used in claim 1 also

    25     relates to those inquiry criteria and the values.
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
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     1                    THE COURT:    Well, I mean, I guess my point is,

     2     one would think that inquiry criteria means something

     3     different than underlying criteria, and I'm wondering if you

     4     can tell me what that is.

     5                    MR. CANTINE:     Well, inquiry -- as we've defined

     6     it, as we proposed in the terms of organized collections of

     7     types of assistance requested.         And obviously it's a similar

     8     term.    I think they're related, but the idea of the criteria

     9     is simply -- maybe I can back up and tell you what it's all

    10     about and then talk about maybe how to exactly define it.

    11                    But if you think about an organization that's

    12     going to set up a system like this, first, they've got to

    13     look at what their products are, what their services are,

    14     what customers may be calling in about.           Then they've got to

    15     look at who their experts are.         They've got to think about

    16     how they're going to relate those two.           And so when they're

    17     building the system, they're going to set up the types of

    18     questions the seeker is going to ask.          That's all the

    19     underlying considerations of how you're going to be able to

    20     tie the question to the expertise.

    21                    And so when they're thinking about designing the

    22     system like this and they've got to come up with those

    23     inquiry criterias of what we're going to let a seeker ask

    24     and how we're going to match it to an expert, that -- it's

    25     that concept, that underlying criteria that the company is
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
                                                     Page 33Page  142
                                                             of 121   of 244#: 2892
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     1     going to be considering as they're setting up the system.

     2     That's what the term means in terms of underlying criteria.

     3     I don't know necessarily how to -- better to put that into

     4     words that's going to be helpful to the jury than just

     5     underlying criteria.       I don't know if that makes sense or

     6     not.

     7                    THE COURT:    Well, let me see, let me ask a

     8     question, see whether you would agree with this, which

     9     is the underlying -- underlying criteria are not -- it

    10     seems like the difference possibly between underlying

    11     criteria and inquiry criteria is inquiry criteria is the

    12     criteria in this get assistance page or interactive problem

    13     definition page, or it's the criteria in connection with

    14     the invention, whereas the underlying criteria is whatever

    15     the same thing is, but in sort of connection with business?

    16                    MR. CANTINE:     I think that is right.        You know,

    17     the underlying criteria is almost like the thought process

    18     and the various considerations the company is going to go

    19     for, consider in building the system.          Right?    Matching up

    20     its products --

    21                    THE COURT:    So the inquiry criteria is supposed

    22     to reflect the underlying criteria?

    23                    MR. CANTINE:     I think the inquiry criteria is

    24     certainly part of the get assistance page.           Right?    Those

    25     are those pre-selected criteria values, those terms that
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
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     1     organize the types of assistance that are going to be

     2     offered to a seeker.

     3                    THE COURT:    All right.

     4                    MR. CANTINE:     Okay?   So I was going to move on

     5     to some of the -- we've put in a bucket, right, certain

     6     terms that we don't think need to be construed at all.              Now

     7     let's go through some of the ones that we think are critical

     8     to the interpretation of both patents as we go forward.              As

     9     I said, I'm not going to talk about all of them.             But, you

    10     know, obviously, I want the Court to look at to help define

    11     what those terms mean.

    12                    We know the intrinsic evidence, the prosecution

    13     history.    Then there's extrinsic evidence, the inventor

    14     testimony, expert testimony.        The leading case on this is

    15     Phillips cited by both parties in their briefs.            I don't

    16     think there's any dispute on that.

    17                    But Cisco does take a number of shots at

    18     XpertUniverse in somehow suggesting that we're asking the

    19     Court to rely solely on extrinsic evidence in interpreting

    20     these patent claims, and we're not doing anything of the

    21     like.    We've cited to the intrinsic record within our briefs

    22     and in these slides.

    23                    But, more importantly, there's nothing wrong

    24     with the Court considering extrinsic evidence.            Right?

    25     Phillips clearly says you're allowed to consider extrinsic
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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                                                             of 121   of 244#: 2894
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     1     evidence so long as it doesn't contradict the intrinsic

     2     evidence.    So I don't want the Court to get the impression

     3     that somehow it's improper to consider or think about or

     4     refer to some of the extrinsic evidence that both sides have

     5     put forward in their expert declarations.

     6                    That being said, let's move on to inquiry types.

     7     All right?     This is, I think, one of the critical terms.

     8     It's used in both patents.        Both parties agree that it

     9     should be -- however it's interpreted, it should be the same

    10     for both patents.

    11                    XpertUniverse's proposed construction is terms

    12     that organize and identify categories of assistance

    13     required.

    14                    Now, what's important, what I wanted to point

    15     out to the Judge, to your Honor, is that I mentioned

    16     earlier, you know, that we were able to agree on three terms

    17     that were originally proposed by Cisco.           One of those we've

    18     indicated here for you, it's this predetermined and

    19     semantically expressed inquiry types.          All right?

    20                    So we've got inquiry types.        That's part of

    21     what we agreed to already.        And it's predetermined

    22     semantically expressed.       What does that mean?       All right.

    23     That's this last portion of what we agreed to, created

    24     prior to use and expressed using language that is humanly

    25     understandable.
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1                    So what did the parties already agree inquiry

     2     types mean?     Here, terms that organize and identify

     3     categories of assistance requested, exactly what

     4     XpertUniverse is proposing for that term.           Cisco already

     5     agreed with that.      We don't see any reason why they should

     6     be backtracking on that.        We think it's an appropriate

     7     interpretation of inquiry types as reflected, and the

     8     parties already agreed to that.         We don't see any reason why

     9     that should change, which leads us to layers of inquiry

    10     types, another important one.

    11                    So if we've already agreed that inquiry types

    12     refers to terms that organize and identify categories of

    13     assistance requested, then what's a layer of inquiry types?

    14     XpertUniverse's position is that it's a particular grouping

    15     of those inquiry types.       And I created this graphic for you

    16     to try to explain that.       All right?

    17                    So at the top here, we have essentially what is

    18     a get assistance page (indicating) that a seeker is going to

    19     be presented with.      This one, just to simplify it, we're

    20     going to get three choices.        And to simplify it even more,

    21     let's assume those choices are simply yes/no.            It doesn't

    22     make a lot of sense, but that's an easy example.             Right?

    23                    So if a user selects yes, yes, yes for those

    24     three choices, he may be routed to inquiry type number

    25     one.   That may result in inquiry type number one being
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     generated.     If he's presented with the same get assistance

     2     page, but he now answers yes, yes, no, then the inquiry type

     3     may be number two.      And, again, if he's presented with the

     4     same get assistance page, he may answer no, yes, yes, which

     5     would lead to inquiry type number three (indicating).

     6     All right?

     7                    So these are all inquiry types that could be

     8     generated from the same get assistance page, and that is

     9     exactly what a layer of inquiry types is.           All right?

    10                    So it's a particular grouping of the various

    11     terms that organize and identify categories of assistance

    12     requested.

    13                    THE COURT:    And it seems like Cisco's proposal

    14     for layer is essentially defined set.          Is there any

    15     difference between a defined set and a particular

    16     improvement?

    17                    MR. CANTINE:     You know, I don't know.       They'll

    18     have to tell us exactly what they mean by defined set.

    19                    THE COURT:    Maybe they'll point to that and say

    20     they mean that.

    21                    MR. CANTINE:     Right.   I guess, you know, as long

    22     as it's inclusive of the fact that there are -- I don't know

    23     the math, whether this is one of those 2 to the N things,

    24     but however many choices you're providing, the number of

    25     inquiry types that could be generated from one particular
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     get assistance page.       As long as the definition of layer

     2     inquiry types would include all of those, I think ours does,

     3     their proposal for defined set --

     4                    THE COURT:    Just using the English language, the

     5     difference between a defined set in a particular grouping,

     6     it's not clear to me there's actually a difference.

     7                    MR. CANTINE:     And there may not be, but I would

     8     suggest that the remainder of theirs, right --

     9                    THE COURT:    I understand.

    10                    MR. CANTINE:     All right.

    11                    THE COURT:    -- there may be a difference on the

    12     remainder.

    13                    MR. CANTINE:     Right.

    14                    And maybe we're splitting hairs, but, you know,

    15     lawyers, they like their language and not the other guy's

    16     language primarily, but there may not be a substantive

    17     difference between the defined set and particular grouping,

    18     and we can get agreement on that.

    19                    The next one I want to talk about is skill-set

    20     database.    This is out of the '903 patent, claims 1 and 12.

    21                    XpertUniverse proposed -- had this proposal.

    22     Basically, a database for storing associations between all

    23     these various fields.       And as we described earlier, as we've

    24     gone through the example, I pointed out that skill-set

    25     database has to have all that information in order to use
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     the routing identifier to find the right expert that it's

     2     looking for.

     3                    So we had suggested originally this storing

     4     associations concept, and then we identified what all those

     5     associations may include.

     6                    Cisco's original proposal is simply that

     7     skill-set database included basically a list of the experts.

     8     I think they recognized the error in that because in their

     9     reply brief, they've now -- they made an offer to change

    10     their proposed construction.        I'm not sure if it's a binding

    11     offer.    But, anyway, now they recognize that skill-set

    12     database is more than just a list of experts, so they've

    13     offered up this proposed construction with stores

    14     associations, which is, again, similar to what we offered.

    15                    But, again, I think that they've been too

    16     limiting in the various associations that are stored within

    17     that skill-set database because it fails to account for all

    18     the associations that are found in the patent.

    19                    The specification -- we provided you the cite

    20     there -- specifically says that the skill-set database

    21     includes entries that associate one or more experts with one

    22     or more inquiry types and its corresponding layers.             And it

    23     also, and others say where the database stores association

    24     between profiles and seekers, the experts, business

    25     interest, cost information, other related factors.             All of
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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                                                             of 121   of 244#: 2899
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     1     that support -- supports, I'm sorry, the various

     2     associations that XpertUniverse has put forth in its

     3     proposal, and I think it establishes why Cisco's is too

     4     narrow.

     5                    And one other -- any questions there?

     6                    THE COURT:    Why don't you go on.       I'm thinking

     7     about it.

     8                    MR. CANTINE:     Okay.   The other aspect,

     9     obviously, that we would object to in their proposed

    10     construction is this concept of unique knowledge.             And this

    11     permeates a few of their proposed constructions, which is on

    12     the next slide.

    13                    THE COURT:    Yes.    I'm not sure unique knowledge

    14     seems to be -- to be too high of a standard.            I thought

    15     somewhere I saw the word "individualized."

    16                    MR. CANTINE:     Well, that's the claim language.

    17                    THE COURT:    Right.     It seems like something less

    18     than unique.

    19                    MR. CANTINE:     We would certainly agree with

    20     that, your Honor.      I think the patent explicitly supports

    21     that.    It contemplates more than one expert being able to

    22     answer the question and therefore using some other factor

    23     other than their knowledge to rank those experts.

    24                    One could be because you've got the VIP coming

    25     in and you want to give him the best available expert, but
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     if you've got somebody else coming in that's not the VIP,

     2     maybe cost would be a consideration of what kind of expert

     3     you're going to make available to that person.            So the two

     4     experts don't have -- they can have the same knowledge, but

     5     the system can use other factors to determine who is going

     6     to get a call.

     7                    So I would agree with you, your Honor, I think

     8     this concept of having unique knowledge is contrary to the

     9     specification, explicitly contrary to the specification that

    10     provides for the situation where two experts can have the

    11     same knowledge and makes -- compensates for that, I guess is

    12     what I would say.      It accommodates that by using other

    13     information in order to figure out who is going to get the

    14     call.

    15                    So why don't we move on to the next one.

    16                    Interactive problem definition page.          This is in

    17     claims 1 and 6 of the '709 patent.          Essentially, Cisco's

    18     proposal would limit it to just a graphical user and

    19     interface.     Again, this is a situation where we think a

    20     specification is explicitly broader than that.            There's no

    21     doubt it identifies graphical user interface as one

    22     potential option.

    23                    THE COURT:    By the way, is there any difference

    24     between a graphical user interface and a graphic user

    25     interface?
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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                                 155 Filed  Filed 05/21/18
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     1                    MR. CANTINE:     Graphic?    I wouldn't -- I can't

     2     think of a difference off the top of my head.

     3                    THE COURT:    All right.

     4                    MR. CANTINE:     But I think the points we want to

     5     make is that a graphical user interface simply is just one

     6     option that's identified in the patent.           I think it

     7     describes a much broader application.          It refers to simply a

     8     responsive interface.

     9                    THE COURT:    I'm sorry.     Where is that?     That is

    10     figure --

    11                    MR. CANTINE:     Figure 3B in the various cites

    12     here we've provided you.

    13                    THE COURT:    Hold on just a second.

    14                    MR. CANTINE:     Okay.

    15                    (Pause.)

    16                    THE COURT:    So I'm just looking at figure 3B,

    17     looking for the words of responsive interface.            I don't see

    18     it there, so it must be somewhere in Column 2.

    19                    So where does the word "responsive" appear

    20     exactly, or responsive interface?

    21                    MR. CANTINE:     I'm looking through our cites as

    22     well, your Honor.      I would tell you at column 5, it talks

    23     about concept in this pull-down list that we were talking

    24     about earlier.      But rather than try to do in on the fly, can

    25     I get back to you exactly where that cite is?            My colleague,
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     Bill, I'm sure can be looking for that as we go on.              Maybe

     2     he can find that for me.

     3                    THE COURT:    Yes.    You can do that in rebuttal.

     4                    MR. CANTINE:     All right.       The other point we

     5     want to make on this particular one is that the remainder of

     6     Cisco's proposed definition, which talks about displaying

     7     these inquiry criteria and values, that's already present in

     8     other aspects of the claim, claim 1 already requires

     9     presenting inquiry criteria and values.            Interactive

    10     definition page.

    11                    So if you plugged in their definition, we're

    12     going to have this presenting step twice.            We think it's a

    13     little bit redundant.

    14                    THE COURT:    No.    I noticed that in quite a few

    15     of their proposals.

    16                    MR. CANTINE:     Right.    I think they had a lot of

    17     functional -- unnecessary functional-type qualifiers in some

    18     of their things, and this is one, again, that kind of

    19     permeates a lot of it.

    20                    THE COURT:    I don't doubt what you say here, but

    21     let me just...

    22                    (Pause.)

    23                    THE COURT:    Right.      Okay.    Go ahead.

    24                    MR. CANTINE:     All right.       So the next one,

    25     actually the last one, your Honor, that I wanted to talk
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     about today is plurality of monitors.          Again, this is one

     2     that permeates a few -- a few of the proposed constructions.

     3     This is the '709 patent, claims 5 and 7.

     4                    I think the main point we have is, is to the

     5     extent Cisco's proposal of two or more computer screens is

     6     intended to imply or suggest that that is some sort of dumb

     7     terminal, we think the patent is much broader than that.              It

     8     refers to a number of responsive interfaces that could be

     9     used by a seeker.      We've identified those for you here in

    10     this list of specific cites.

    11                    It talks about white boards and tablets and

    12     other devices.      Computer display is just one.        General

    13     interactive page.      Graphical --

    14                    THE COURT:    I can't remember.      It was one of the

    15     two patents where it was listing a bunch of things and it

    16     said cell phones?      Is that this one?

    17                    MR. CANTINE:     When it talked about the

    18     multi-media computer?

    19                    THE COURT:    I don't remember.      I just remember

    20     seeing cell phones.       Maybe it was in a different context.

    21                    MR. CANTINE:     I don't remember off the top of my

    22     head, your Honor, but certainly that's something --

    23                    THE COURT:    All right.

    24                    MR. CANTINE:     -- we'll take a look at.

    25                    But I think the point that we're trying to make
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
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     1     is, certainly in claim 5, right, I quoted it for you at the

     2     bottom here.      It talks about the database being connected to

     3     this plurality of monitors and presenting these things in an

     4     interactive manner.

     5                      THE COURT:   Well, so, isn't, you know, what you

     6     just said about Cisco, isn't this applicable to you here,

     7     where the plurality of monitors, if you include interactive,

     8     aren't you kind of making that redundant there?

     9                      MR. CANTINE:   I wouldn't say we're quite as

    10     guilty.    No.    I think if you look at, again, in the context

    11     of claim 5 here, so a database connected to a plurality of

    12     interactive communication devices presenting the quantity of

    13     criteria and values --

    14                      THE COURT:   How can interactive manner be not

    15     just redundant under what you have just read?

    16                      MR. CANTINE:   It's a little bit redundant, I

    17     would agree with you.

    18                      THE COURT:   So doesn't that suggest that

    19     interactive is probably not something that you should make

    20     as part of the definition of plurality of monitors?

    21                      MR. CANTINE:   Well, I think to the extent we're

    22     going to define -- first of all, this may be another one

    23     that doesn't need construction at all, but to the extent

    24     we're going to construe it, I think adding the interactive

    25     aspect to that monitor, as we've suggested, actually -- it's
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
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     1     a little bit redundant, but I think it's important, because

     2     it's part of the whole point of the patent, is to have this

     3     interactivity with the --

     4                    THE COURT:     I mean, certainly computer screens

     5     by itself doesn't, to me, eliminate interactivity.

     6                    MR. CANTINE:     In our view, it suggests some sort

     7     of cathode ray tube, big old computer screen, and we think

     8     certainly a communication device would be something that's a

     9     little bit broader than a computer screen, and I think a

    10     patent would support the broader interpretation we're

    11     offering, leaving the interactive part of it aside.

    12                    THE COURT:     Well, I mean, I guess to the

    13     extent -- if you are looking at your Apple iPhone, you can

    14     be looking at a computer screen.         Right?

    15                    MR. CANTINE:     Right.   I guess we would debate

    16     whether there's a computer screen or more of a general

    17     communication device.       I'm not trying to split hairs, but

    18     I think that computer screen is overly limiting, given

    19     support in the spec for other types of communication

    20     devices.

    21                    THE COURT:     The only thing is, communication

    22     devices, interactive communication devices includes

    23     walkie-talkies.      Right?   Those of you who are old enough to

    24     remember what they are.

    25                    MR. CANTINE:     I remember what they are.       Whether
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     it would include that, I'm not sure in the context of the

     2     patent whether a walkie-talkie would be something we would

     3     consider to be an interactive communication device.

     4                    THE COURT:    And maybe there would be other parts

     5     of the patent that ruled it out.

     6                    MR. CANTINE:     Right.

     7                    THE COURT:    Just the term, interactive

     8     communication devices, you know, that, at least to me, that

     9     includes intercom systems, and it includes anything, really,

    10     other than talking face to face.

    11                    MR. CANTINE:     I guess let's look at the context

    12     right in claim 5 we've quoted there.          The database is

    13     connected to this plurality of monitors presenting.             So

    14     we've got the presenting step there.          Whether a

    15     walkie-talkie is presenting, you know, various choices is

    16     probably debatable at best.

    17                    THE COURT:    Well, right.

    18                    MR. CANTINE:     Right?   So in the context of the

    19     claim, you know, we've got, I think, our suggestion is just

    20     a communication device presenting.          It suggests there's some

    21     visual aspect of it there, but a lot of these -- let me

    22     leave it at that.

    23                    THE COURT:    Well, I mean, monitor does suggest a

    24     visual device, so if you are talking about a communication

    25     device with a visual screen, or something like that, would
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     you say that's what it means?

     2                    MR. CANTINE:     I think it's something along those

     3     lines, but, again, you know, are we getting into the realm

     4     of we're just adding the words to something that --

     5                    THE COURT:    Well, and I understand that.

     6                    MR. CANTINE:     Yes.

     7                    THE COURT:    Partly, I'm just trying to -- if you

     8     figure out what it means, then you can figure out whether or

     9     not you're just adding words.

    10                    MR. CANTINE:     Yes.   I think, clearly, in the

    11     context, right, so you've got the seeker has to fill out

    12     this interactive form.       So it has to be some sort of

    13     interactive concept.

    14                    The other thing I would point out, what we were

    15     talking about earlier about this interactive problem

    16     definition page and this graphical user interface,

    17     essentially, it would not accommodate blind people if it's

    18     simply a graphical user interface, which is against the law

    19     these days.

    20                    I'm sure Cisco wants their products to be

    21     compliant with the law and work with everybody.            But we're

    22     kind of getting back to the same thing here.            We're talking

    23     about in the context of the claim.          Right?   This database

    24     needs to be connected to these quote unquote "monitors" to

    25     present the inquiry criteria and values to the seeker in an
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     interactive manner.

     2                    You know, I think presenting those various

     3     choices to the seeker via a communication device makes more

     4     sense than a computer screen.         If we want to drop off

     5     interactive because it's already reflected in the rest of

     6     the claim, you know, I think we would be -- we think it

     7     should stay, but if that's the choice, we drop interactive

     8     and keep communication device rather than computer screens.

     9                    THE COURT:    All right.

    10                    MR. CANTINE:     Okay?

    11                    THE COURT:    Okay.

    12                    MR. CANTINE:     And, your Honor, again, I touched

    13     on about ten of the 22.       I would be happy to talk about some

    14     of the things on rebuttal, but we'll stand by our briefs on

    15     the remainder of those.

    16                    THE COURT:    All right.

    17                    MR. CANTINE:     Thank you very much.

    18                    MR. SCHUMAN:     Good morning, your Honor.

    19                    THE COURT:    Good morning.

    20                    MR. SCHUMAN:     Brett Schuman from Morgan Lewis on

    21     behalf of Cisco Systems.

    22                    We, too, have a very brief background section,

    23     and then we'll get right into the claim terms.

    24                    THE COURT:    Right.

    25                    MR. SCHUMAN:     As Mr. Cantine indicated, there is
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     a dispute in this Markman hearing to what the level of one

     2     of ordinary skill in the art should be.

     3                    THE COURT:    Well, I mean, I guess in a way I'm

     4     just wondering the differences between a Master's degree

     5     and a Bachelor's degree and three to five years' experience

     6     and stuff.     They're some pretty fine lines, don't you

     7     think?

     8                    MR. SCHUMAN:     I think they are fine lines and I

     9     don't think it's particularly relevant as long as the Court

    10     is willing to look at these terms and construe them so that

    11     the jury can understand them.         And there's some law on this,

    12     though, and we just have two slides here.

    13                    Phillips addresses this concept of interpreting

    14     a patent from the perspective of one of ordinary skill

    15     in the art.     And what Phillips says is that the starting

    16     point is based on the well-settled understanding that

    17     inventors are typically persons skilled in the field of the

    18     invention.     And there's another case we cite from the

    19     Federal Circuit, CCS Fitness, which also says, inventors are

    20     assumed to be one of ordinary skill in the art.            The

    21     inventors, by definition, have to understand what they have

    22     invented and described.       And XpertUniverse has provided a

    23     declaration from an expert witness, extrinsic evidence, Dr.

    24     Nourbakhsh, who says you have to have a Master's degree to

    25     understand the complicated principles in these invention.
      Case 3:17-cv-03848-RS
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                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     Not a single one of the inventors has a Master's degree,

     2     your Honor.

     3                    THE COURT:    Is this something that's in the

     4     record?

     5                    MR. SCHUMAN:     It's -- it is in evidence.        It is

     6     not in the record here because it was the first time in the

     7     reply declaration, which I would submit is inappropriate to

     8     begin with.     They submitted a reply declaration where their

     9     expert --

    10                    THE COURT:    All right.     So you say is in

    11     evidence, but not in the record.         What do you mean is in

    12     evidence?

    13                    MR. SCHUMAN:     Meaning documents -- in the

    14     documents that were produced by XpertUniverse are the

    15     credentials and C.V.s of these people.

    16                    THE COURT:    All right.     But these are not things

    17     I have?

    18                    MR. SCHUMAN:     They're not.

    19                    THE COURT:    Okay.

    20                    MR. SCHUMAN:     But the point here, your Honor, is

    21     that XpertUniverse has attempted to generate an issue

    22     through their reply declaration that Dr. Nourbakhsh is a

    23     person with the right skill in the art to help this Court

    24     understand the patent because he has a Master's in computer

    25     science whereas Dr. Forys does not.          And the point is that
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     none of the inventors do either.

     2                    So when you look at what the law says about

     3     ordinary skill in the art, I would agree with what your

     4     Honor said before we started this slide, that we're

     5     splitting hairs here a little bit, whether you have a

     6     Master's in computer science or not.          The law says a person

     7     of ordinary skill in the art here is not somebody with a

     8     Master's degree.

     9                    THE COURT:    Somebody with a B.A. in history.         I

    10     like that.

    11                    MR. SCHUMAN:     I understand these patents, your

    12     Honor, and I don't have a B.A. in computer science or a

    13     Master's in computer science.

    14                    These are basic principles.        The briefs, your

    15     Honor, the Markman briefs, Cisco is accused of misusing the

    16     specification to limit broader claims.           We disagree with

    17     that.    And I think your Honor is better with the -- the

    18     primary role of the specification in claim construction is

    19     really the best place to figure out what the inventors meant

    20     because claim language is terse, and if the process works,

    21     the specification elaborates on what the claims mean.

    22                    Very briefly, your Honor, Mr. Cantine described

    23     the breadth and scope and I think he used some terms

    24     describing the breakthroughs and how XpertUniverse's

    25     products, products that embody the invention supposedly
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     broke down the barriers of the call center and reached out

     2     into the enterprise and solved this problem of having pools

     3     of experts, which made for a very difficult process of

     4     creating matching route systems.

     5                    Very few slides on the technology that we're

     6     talking about here.       This is right out of the specification

     7     of the '903 patent.

     8                    What they are saying they invented here -- this

     9     is the background of the invention section -- is an improved

    10     match and route system, so match and route systems have been

    11     developed which are capable of connecting a seeker

    12     requesting information to an expert.

    13                    The same point appears in the '703 patent, your

    14     Honor.     The '703 patent, background of the invention,

    15     describes that the interface being claimed in that patent

    16     is an embodiment of a match and route system platform.

    17     And the '709 patent purports to cover the interface and the

    18     look and feel of that interface for the match and route

    19     system.

    20                    So we're talking here about match and route

    21     systems.    And there are a number of match and route systems

    22     that were out there prior to XpertUniverse's filing of these

    23     patents, and these are all mentioned in Dr. Forys'

    24     declaration, the primary offer of which is to provide the

    25     Court with some background on the -- on the technology here,
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     and not to tell the Court what the claim construction should

     2     be.   Dr. Forys and Cisco does not believe that that is the

     3     role of an expert in claim construction.

     4                    One of those products -- and this illuminates, I

     5     think, your Honor, one of the points that Mr. Cantine was

     6     making.    This is an example right out of the manual for this

     7     product.    Dr. Forys reviewed it in preparation of his

     8     declaration and described it in his declaration.

     9                    This is an example of a match and route system

    10     that uses pools or groups of experts.          And the way it works

    11     is, you create a routing script.         The example here is given

    12     Massachusetts sales script, which will look for the longest

    13     available agent in the Northeast sales skill group.             And

    14     that's a group of -- it's a pre-populated group of people.

    15     You list the people's names:        Chris, Bob, John, Paul.        And

    16     then you schedule that script to run whenever there's a call

    17     type that comes in that fits the classification

    18     Massachusetts sales type of -- it was in the manual.

    19                    When a caller dials the 800 number from a phone

    20     with a 508 area code, he or she is prompted with a menu.

    21     The caller enters 1 for sales help.          And then a route

    22     request is sent to the match and route software, the ICM

    23     software.    The software examines the dialed number, which is

    24     the 1800 number.      It examines the CLID value and determines

    25     that the prefix is 508, which indicates the call is coming
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     from Massachusetts.

     2                    So now the software knows we have a call coming

     3     from Massachusetts.       At step 9, the software also knows that

     4     1 has been indicated, a selection has been made, which

     5     indicates that it's a sales call.          So now the software know

     6     it's a call from Massachusetts seeking sales to this 1800

     7     number.

     8                    The ICM software determines that the call type

     9     is Massachusetts sales, and executes the Massachusetts sales

    10     script, and then the ICM software assigns the task to a

    11     particular agent, which is somebody defined to be included

    12     in the Northeast sales skill group.

    13                    That's one example of a prior art system

    14     matching and routing incoming calls, contacts, e-mails,

    15     inquiry, what have you, to an agent or an expert who can

    16     help.

    17                    This is another example of a prior art matching

    18     and routing system described by Dr. Forys in his

    19     declaration.     And this one is different, your Honor.           And

    20     here's an example, again, right out of the manual for the

    21     Genesys University Routing Solution.

    22                    The example here is a customer is a premier

    23     level client, premier level client from France who wants to

    24     make a stock trade, and he requires an experienced agent who

    25     is fluent in French and has knowledge of stock trading.              And
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
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     1     then the system, Universal Routing, allows you to create a

     2     strategy that segments based on skill and skill level and

     3     for account level language in stock trading.

     4                    The interaction could then be routed to an agent

     5     who has a high level skill in French and a medium level

     6     skill in stocks.      So an expert in stocks or having an

     7     expert -- expert level command of French.

     8                    And here's the key difference between this

     9     prior art match and route system and the Cisco prior art

    10     match and route system we described.          You do not have to

    11     have a group, you do not have to group together agents

    12     according to skill type or level in the Genesys solution.

    13     Your agent stores agents profiles and creates a list

    14     of agents available for each interaction based on the

    15     skills needed for handling the interaction.            URS uses stat

    16     server to determine the most available agent who has these

    17     skills.

    18                    So this is a different way, a different prior

    19     art system for matching and routing.

    20                    Dr. Forys, your Honor, also describes an

    21     application that Genesys had available on the market prior

    22     to the time XpertUniverse filed these applications, and this

    23     by way of response to what Mr. Cantine said.            I know we're

    24     not here to argue would it have been prior art.            But they

    25     had an application running on this routing server called
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     Expert Contact, which was explicitly to get outside of the

     2     contact center.

     3                    Mr. Cantine pointed out that one of the features

     4     of XpertUniverse's solution embodied in these patents that

     5     we are here to talk about today is that it -- I think his

     6     quote was, knocked down the whole call center model.

     7                    First of all, I would just point out, and I know

     8     the Court appreciates this, this is not described in the

     9     patent.    We're here to interpret the patents.          The patents

    10     don't talk about knocking down the call center model.              The

    11     patents talk about matching and routing systems.

    12                    These matching and routing systems, these prior

    13     art systems, broke down the call center model long before

    14     XpertUniverse filed its patent.

    15                    Expert contacts from Genesys described by Dr.

    16     Forys in paragraph 25 of his declaration used this

    17     technology explicitly to route callers, contacts, seekers,

    18     users, to call center agents or to experts with expertise

    19     outside of the traditional call center.

    20                    The third and final prior art system I will

    21     describe, which also is a match and route system described

    22     by Dr. Forys in his declaration, paragraph 24, the Siemens

    23     Hi-Path, and is very similar to the Genesys system described

    24     in the prior side.      Siemens calls this resumé routing.          This

    25     product came out in 1999, so many years before the patent
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     here.    Interestingly, a different company, different manual,

     2     a very similar example.       Instead of somebody who speaks

     3     French wanting information about stock trade, in the Siemens

     4     manual they talk about somebody who wants to get help

     5     regarding stock -- stock transaction in Spanish.             Using the

     6     ProCenter Suite, you express your customers requirements in

     7     simple, yet precise logical expressions.           For example, Acme

     8     Capital Management offers brokerage services and financial

     9     counseling to their customers.         Some of Acme's customers

    10     speak only Spanish.       These customers might require an agent

    11     who has both the Spanish skill and the stock funds skill,

    12     for example.

    13                    And this is how the software expresses it,

    14     somebody who speaks Spanish with a proficiency level of

    15     five and someone who speaks -- someone who has a competency

    16     level of seven with stock fund transactions.

    17                    When defining the call requirements, you define

    18     the skills and skill levels defined, required by the

    19     transactions.     The ProCenter Suite compares the call

    20     requirements to your agents' resumés, so the specific skills

    21     listed on the agents' resumes.         To determine which agents

    22     are eligible to handle a transaction, the group of eligible

    23     agents is called a virtual group.

    24                    The virtual group of agents qualified to handle

    25     Spanish 5 and Stock Funds 7 transaction can be identified as
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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                                 155 Filed  Filed 05/21/18
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     1     the stocks Spanish Virtual Group, and it's expressed there.

     2     And then the call is matched and routed on according to this

     3     technology.

     4                    So these are some of the prior art systems that

     5     existed out there prior to XpertUniverse's filing of its

     6     patents.

     7                    Mr. Cantine acknowledges and, of course, the

     8     Court knows this, but the '709 patent, the other patent

     9     asserted here, covers the look and feel of the interface to

    10     the match and route system.        And, of course, there are a

    11     number of prior art interfaces that we're all aware of.

    12     Obviously, Mr. Cantine described interactive voice response

    13     systems, IVRs, and those come in multiple flavors.             One

    14     flavor has been around I think Dr. Forys says since the

    15     eighties.     Just the touchtone.      You touch one for sales,

    16     touch two for support, and so on down the menu.

    17                    In the nineties, they added voice recognition,

    18     so you no longer have to push the buttons.           You can just

    19     speak.     We've all used those systems.

    20                    Chat or e-mail-based interfaces have been around

    21     since before XpertUniverse filed the patents.            And also

    22     web-based interfaces.       And I think the key point there is

    23     that, again, this is just by way of background.            We know,

    24     it's widely known that web-based interfaces to match and

    25     route systems existed before.
      Case 3:17-cv-03848-RS
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     1                    The question we're here to decide today is,

     2     using the claims that -- using the claim terms we're here to

     3     interpret, what specifically was novel and what was patented

     4     with respect to the web-based interface described in the

     5     '709 patent?     What is different about this one than the

     6     prior art interfaces?       That's where these terms were.

     7                    That's why we think these terms need to be

     8     construed.     As Mr. Cantine -- XpertUniverse has taken a

     9     different position here, your Honor, than they've taken in

    10     all prior briefing.       Initially and through all the briefing,

    11     XpertUniverse's position is that none of the terms in either

    12     of these patents need to be construed.           Today we heard that

    13     at least -- I think I counted five -- need to be construed.

    14     We need to construe these terms to understand how these

    15     patents are different and claim something different than

    16     these prior art systems.

    17                    So as Mr. Blumenfeld said, Ms. Walsh and I

    18     are going to trade off terms.         We'll deal with the '709

    19     patent.    And subject to any guidance from the Court, we do

    20     plan to just go through the terms that were briefed for the

    21     Court.

    22                    THE COURT:    That's fine.

    23                    MR. SCHUMAN:     So the '709 patent, your Honor,

    24     with only a little bit more background, the '709 patent, the

    25     summary of invention section and the disclosure here is
      Case 3:17-cv-03848-RS
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     1     pretty thin, but the summary of invention section and the

     2     detailed description of the illustrative embodiments

     3     describes this patent as covering the look and feel of the

     4     interface for a match and route system platform, and this is

     5     from the specification in column 2.          It's at lines 15 to 19

     6     and it appears again at 33 to 38.

     7                    Association -- associated with the system, the

     8     match and route system, is a set of inquiry criteria, a set

     9     of clients, a set of users, and a series of user interface

    10     configuration selections which control the look and feel of

    11     the platform.     And very similar language appears at column

    12     2, 33, to 38.

    13                    So this patent, we view it as the look and

    14     feel patent because that's what it describes, and that --

    15     we will get to that when we get to what is an interactive

    16     problem definition page.        One of the terms that we have

    17     said all along needs to be construed here, and that

    18     XpertUniverse --

    19                    THE COURT:    You say you view it as a look and

    20     feel patent.     Is that some category I'm supposed to

    21     recognize?

    22                    MR. SCHUMAN:     No, no, no, no.     I'm just reading

    23     from the specification, your Honor.

    24                    THE COURT:    Okay.

    25                    MR. SCHUMAN:     I'm not talking about product-by-
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     process patents, or any of those terms that existed --

     2                    THE COURT:    Okay.     Okay.

     3                    MR. SCHUMAN:     Yes.

     4                    THE COURT:    I just wanted to -- all right.

     5     Good.

     6                    MR. SCHUMAN:     I think to simplify, it is as

     7     Mr. Cantine described, there's a relationship between these

     8     two patents, and I think the Court appreciates that.

     9     XpertUniverse had a product.         It was called Expert Share,

    10     Knowledge Share, and it embodied these concepts.             The

    11     patents are related.       And in order to think about them, the

    12     '709, the claims in the '709 explicitly cover this

    13     interactive problem definition page.

    14                    THE COURT:    But the patents, I mean, they do

    15     seem to be related, but is there any reference back and

    16     forth in any place between the two of them so that things

    17     that are in one patent are not intrinsic -- are, you know,

    18     somehow relevant to construction in the other patent?

    19                    MR. SCHUMAN:     So they're same terms, so inquiry

    20     types is a term that has been proposed for a construction

    21     here today that appears in both patents.           They both describe

    22     the match and route system and the background of the

    23     invention and then -- and there is unclaimed disclosure,

    24     your Honor, in the specification of the '709 patent that

    25     describes the routing functionality claimed in the '903
      Case 3:17-cv-03848-RS
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     1     patent.

     2                    And, similarly, the '903 patent, your Honor, has

     3     figure 2, which is the get assistance page, which is also

     4     depicted and claimed in the '709.

     5                    So there's a lot of overlap between the

     6     specification and the referencing in both patents.

     7                    THE COURT:    Exactly the same in both patents?

     8                    MR. SCHUMAN:     Figure 2, your Honor, of the '709

     9     is the get assistance page.

    10                    THE COURT:    Right.

    11                    MR. SCHUMAN:     Okay?    Figure 2 of the '903

    12     patent, your Honor, is also the get assistance page.              Do you

    13     see it down there at the bottom?

    14                    THE COURT:    All right.     Yes.   I see -- not

    15     exactly the same, but it is called get assistance Web page,

    16     or get assistance page.

    17                    MR. SCHUMAN:     Right.    And in column 4 of the

    18     '903 patent, your Honor, the disclosure, figure 2.             So the

    19     portion of the specification describing that figure I just

    20     directed you to.

    21                    THE COURT:    So figure 4 of the '709 patent?

    22                    MR. SCHUMAN:     I'm sorry.    Column 4.

    23                    THE COURT:    Column 4?

    24                    MR. SCHUMAN:     Of the '903 patent.

    25                    THE COURT:    I'm sorry.     Column 4 of the '903
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     patent.    What am I looking for?

     2                    MR. SCHUMAN:     Starting at line 42, where it says

     3     figure 2.

     4                    THE COURT:    Right.

     5                    MR. SCHUMAN:     This describes the get assistance

     6     page of the interface and describes inquiry types and

     7     inquiry criteria being depicted on that page, which is

     8     what's claimed in the '709 patent.

     9                    THE COURT:    And I noticed before, I think the

    10     inventors on both patents are the same, but they were

    11     essentially prosecuted separately?

    12                    MR. SCHUMAN:     Well, they were prosecuted

    13     concurrently, I would say.

    14                    THE COURT:    But I mean --

    15                    MR. SCHUMAN:     One is not a divisional of the

    16     other.    One is not a continuation of the other.          They were

    17     filed -- the '709 claims priority to a provisional

    18     application filed in April of 04, but the application itself

    19     was filed March 31st, '05, whereas the '903 application was

    20     filed January of '05, so they were prosecuted concurrently

    21     with the same named inventors.          Correct.

    22                    THE COURT:    Okay.

    23                    MR. SCHUMAN:     Okay?    So Ms. Walsh is going to

    24     address subject list style.

    25                    THE COURT:    All right.
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1                    MS. WALSH:    So here the terms is a subject list

     2     style.    And Cisco's construction reflects that a subject

     3     list style is a graphical representation of the logical

     4     structure of the list of inquiry criteria and values and the

     5     relationships that are shown in that list.

     6                    By contrast, XU's construction states that the

     7     subject list style is the structural format for the

     8     interface used to enter information.          Basically, the

     9     difference between the two comes down to the fact that

    10     Cisco's reflects that the subject list style is a graphical

    11     representation.

    12                    And as we see from the specification, in several

    13     different places, the specification clearly states that the

    14     subject list styles are presented to a user in an

    15     interactive problem definition page.

    16                    So the subject list style is what the user sees

    17     in order to formulate his or her query.           So a person in the

    18     abstract, such as subject list, is then presented to a user

    19     in an interactive problem definition page, and then very

    20     similar, if not the same language, again, in column 1 of the

    21     '709 patent.

    22                    And then, again, moving on throughout the

    23     specification at column 4, line 42, it states, the subject

    24     list styles are presented to a user in an interactive

    25     problem definition page.
      Case 3:17-cv-03848-RS
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                                 155 Filed  Filed 05/21/18
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     1                    And so that's basically saying that, again, the

     2     subject list style is what the user sees in the problem

     3     definition page and how it reflects the relationships

     4     between the inquiry criteria and values as it also describes

     5     the patent.     For instance, those relationships can be

     6     hierarchical.     They can be independent of one another.           But

     7     subject list style is how the system goes from the logical

     8     relationship between those lists to showing the user

     9     something that he or she used to work through the query.

    10                    And, again, in the specification, at column 5,

    11     line 32, it states that the client can collect an overall

    12     style for the subject list, here subject list style, from

    13     some pre-designated standard types or it can be customized.

    14     Again, the subject lists are located on the get assistance

    15     page.    And in this example they are displayed as a drop-down

    16     menu, that being one example of how you can show the subject

    17     list style.

    18                    And, again, going through some examples in the

    19     specification, it lists a couple of examples of styles.              For

    20     instance, Style 301 is a way of depicting how some of the

    21     values come from a get assistance page and some of the

    22     subject lists are non-hierarchical.          Yet another example,

    23     you have some values from the get assistance page and then

    24     the seeker selects some of the values.           Some of the lists

    25     are hierarchical and some are dependent.
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1                    Turning to the prosecution history, this is a

     2     response to an office action during prosecution of the '709

     3     patent.    And it states, it confirms that the subject list

     4     style is the way that the subject list structure is

     5     represented.

     6                    So, for example, in describing the invention,

     7     the patentee states, each subject list style represents the

     8     subject list structure, and identifies a set of component

     9     lists, or the lists that are shown in the subject list

    10     style, unique in the way each of the list components are

    11     related to other list components.

    12                    So the subject list style is the structure

    13     through which you see kind of the customized portion of the

    14     interface in the -- in the alleged invention.

    15                    And, again, the patent goes through a few more

    16     examples and figures, again, reinforcing the idea that the

    17     subject list style is what's displayed to the user in the

    18     get assistance page.       In the highlighted language, it's

    19     describing some selections of fruit and berries in a

    20     delivery schedule.      And so it's talking about when certain

    21     of the choices are defined by the user's profile, the user

    22     only sees certain lists, so here is list 3 and list 4.

    23                    And then continuing on --

    24                    THE COURT:    So in terms of your construction, is

    25     an important point the graphical representation part?
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1                    MS. WALSH:    Yes.

     2                    THE COURT:    And the rest of the -- the rest of

     3     it is just trying to come up with words that mean subject

     4     list?    I mean, style, essentially -- and I'm not trying to

     5     pin you down to something here, but essentially style means

     6     graphical representation.

     7                    MS. WALSH:    It does.    I would probably go on to

     8     say that it's the graphical representation of the logical

     9     structure to kind of flesh that out a bit.

    10                    THE COURT:    But the logical structure -- all

    11     right.    I understand.

    12                    MS. WALSH:    And then moving on to the next term,

    13     member of an organization.

    14                    The '709 patent talks in terms of a member of

    15     different -- different members of the organization.             Kind of

    16     a high level, the first member selects inquiry types,

    17     values, what gets shown to the user, and then the second

    18     member of the organization does the selecting.

    19                    So Cisco's construction is a person belonging to

    20     a predetermined group or a company, and this reflects the

    21     commonly understood definition of what a member is and what

    22     it means to be a member of an organization.            If you are a

    23     member, you belong to something.

    24                    By contrast, XU's definition is a person who is

    25     merely associated with or authorized by an entity that is
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     enabling use of the method or system described.            This

     2     would sweep in people who aren't actually members of

     3     the organization.      They could be someone who just chooses

     4     to --

     5                    THE COURT:    Well, predetermined group.        If you

     6     imagine the insurance company where it has independent sales

     7     agents who aren't actually part of the insurance company,

     8     say, sells insurance for multiple different insurance

     9     companies, they could be a predetermined group, could

    10     they?

    11                    MS. WALSH:    They could be part of a

    12     predetermined group that includes the insurance company and

    13     its agent.

    14                    THE COURT:    So they -- I mean, they wouldn't

    15     have to be a member of the company?

    16                    MS. WALSH:    They would not, and I think that's

    17     why we have --

    18                    THE COURT:    Right.    I mean, that seemed to

    19     be --

    20                    MS. WALSH:    Yes.

    21                    THE COURT:    -- that a person belonged to a

    22     predetermined group, or -- I'm not sure actually what

    23     predetermined means.       Couldn't it just be a person belonging

    24     to a group or a company?

    25                    MS. WALSH:    I believe so.     I think the
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
                                 155 Filed  Filed 05/21/18
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     1     predetermined kind of ties into the aspects of defining, you

     2     know, the set of knowledge that you are trying to represent

     3     to the system.

     4                    THE COURT:    And so predetermined means in a way

     5     you would say somebody is a member of a company, and that

     6     kind of defines who you're talking about.           And so when you

     7     say "predetermined," you almost mean -- you would mean more

     8     like just defined?

     9                    MS. WALSH:    Yes.    I think that captures it.       I

    10     think it's defined group.        It's a certain set of people or

    11     types of people.

    12                    THE COURT:    Defined group -- and so your

    13     criticism of XU's construction is in light of the fact

    14     that -- is what now?

    15                    MS. WALSH:    It's much broader.       It's saying that

    16     a member of an organization is just a person who is

    17     associated with or authorized by an entity that is enabling

    18     the use of the method or system described, and so that's

    19     considerably broader.       That could mean, say, in the context

    20     of an invention, somebody who --

    21                    THE COURT:    And, presumably, maybe part of what

    22     we're getting at here is whether random customer is a member

    23     of the organization or not?

    24                    MS. WALSH:    Yes.    Yes.

    25                    THE COURT:    And basically your view would be
      Case 3:17-cv-03848-RS
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     1     the XU definition would allow such a thing and yours would

     2     not?

     3                    MS. WALSH:    Yes.    And the specification shows

     4     that, or at least indicates that the problem to be solved by

     5     the invention is to leverage knowledge within an

     6     organization.

     7                    THE COURT:    Well, it certainly, generally

     8     speaking, I had the impression the '709 patent was much more

     9     susceptible to the internal organization construction than

    10     the other patent.

    11                    MS. WALSH:    Yes.

    12                    THE COURT:    Is that your view?

    13                    MS. WALSH:    Yes.    Yes.   I agree.

    14                    THE COURT:    All right.     But in terms of, if

    15     you've got some intrinsic evidence you want to show on this,

    16     please go ahead.

    17                    MS. WALSH:    Sure.    At the beginning of the

    18     patent, when they're discussing and defining the problem to

    19     be solved, they talk about some studies that talk about the

    20     problem of organizational knowledge that is stored in the

    21     employee's mind.      It's not written down anywhere, it's not

    22     in any computer base.       You can't search it.       Nobody can find

    23     it except by just picking up the phone, knowing who the

    24     right person is and calling that person.

    25                    And so it goes on to say, accordingly, a need
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     exists to enable organizations to tap into an individual's

     2     tacit knowledge, so basically what is in a person's head,

     3     and to be able to identify experts within the organization

     4     and to route inquiries to the next available expert.

     5                    And so here it's talking about leveraging an

     6     employee's knowledge within the organization.

     7                    THE COURT:    Is it necessarily the experts are

     8     within the organization, or just they're within the

     9     organization doesn't mean that somebody outside the

    10     organization could be somebody that the organization would

    11     like to have tap into the knowledge, does it?

    12                    MS. WALSH:    It could, but I think going back to

    13     kind of the contact in the claim language, I mean, it's a

    14     member of an organization and another member of the

    15     organization, so --

    16                    THE COURT:    And so actually part of what you

    17     are saying is just member of the organization that has --

    18     common understanding of those words would include people

    19     who are members who are not members of the organization?

    20                    MS. WALSH:    Yes.    I think we're kind of starting

    21     with the claim language and going from there.

    22                    THE COURT:    Okay.

    23                    MS. WALSH:    And then, again, the patent goes on

    24     to describe how, if somebody is a member, they can either be

    25     a seeker or somebody who is an expert within the
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     organization, depending on how their roles are defined.              And

     2     so we think that this captures the idea that a member of an

     3     organization is someone who actually belongs to the group or

     4     company.

     5                    And if your Honor doesn't have any more

     6     questions, I will turn this over to Mr. Schuman.

     7                    THE COURT:    All right.

     8                    MR. SCHUMAN:     So there are a series of terms I'm

     9     going to address, your Honor.         Inquiry type, inquiry

    10     criteria, underlying criteria, values, and inquiry criteria

    11     values.    These are all terms used in the '709 patent, the

    12     first of these terms being inquiry type, which

    13     XpertUniverse's expert says is critical to understanding the

    14     '709 patent.     The definitions are quite divergent.

    15                    One of the very key distinctions you see here is

    16     our definition links inquiry types with inquiry underlying

    17     criteria, and this came up during the colloquy with

    18     Mr. Cantine as well.

    19                    Cisco's construction here, your Honor, is almost

    20     a verbatim quote from the specification.           This is -- oh, I

    21     should point out, as we mentioned before, inquiry type is a

    22     term proposed for a construction in both the '903 patent and

    23     the '709 patent.      So the intrinsic evidence -- and both

    24     parties, your Honor, have, as you would expect, proposed

    25     identical definitions for this same term in both patents.
      Case 3:17-cv-03848-RS
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     1                    So this portion overlaps with the '903 patent.

     2     The intrinsic evidence we're referring to here comes from

     3     both the '709 patent and the '903 patent.           It's the same

     4     term in both patents.

     5                    A specific grouping of underlying criteria

     6     predetermined by the organization and based on a user's

     7     criterion selections.       That's our definition.       This is a

     8     specification.      After all the criterion selections are made,

     9     the system can identify the inquiry type, which is the

    10     specific grouping of underlying criteria predetermined by

    11     the organization.

    12                    We moved some words from the end to the

    13     beginning, but it's almost a direct quote.           The same

    14     language appears later on in the specification, column 2,

    15     line 36 to 40.      After the speaker responds to several

    16     iterations of semantic identifier presentations, the system

    17     is able to select a predetermined semantically expressed

    18     inquiry type that is organized from the underlying criteria

    19     grouping selected by the seeker.         '709 has the same

    20     description in the specification.

    21                    THE COURT:    Can I interrupt you for a second and

    22     ask Mr. Cantine, do you agree that you could just use

    23     evidence from both patents interchangeably?

    24                    MR. CANTINE:     Well, I think if we're talking

    25     about inquiry criteria, your Honor -- I'm sorry, inquiry
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     types -- each side has proposed that that term be construed

     2     consistently across the patents.

     3                    THE COURT:    And so to the extent that, for

     4     example, I think Mr. Schuman is quoting the '903 -- maybe

     5     I'm wrong, but --

     6                    MR. SCHUMAN:     '903.    Both numbers.

     7                    THE COURT:    Right.     So at one point using '903

     8     evidence, in one he's using '709 evidence.           Both sides agree

     9     that's the right way to do it.          Right?

    10                    MR. CANTINE:     I don't think they're

    11     inconsistent, so we don't have a problem with that.

    12                    THE COURT:    Okay.    All right.    Go ahead,

    13     Mr. Schuman.

    14                    MR. SCHUMAN:     Thank you, your Honor.

    15                    I want to point out, the problem with

    16     XpertUniverse's proposed construction for us, your Honor, is

    17     too broad, too general, and it's stripped of the association

    18     between inquiry types and underlying criteria that appears

    19     in the spec.

    20                    XpertUniverse's own declarant, expert witness,

    21     your Honor, disagrees with their proposed construction.

    22     This is one of the dangers of having an expert opine on what

    23     the claim terms should mean.         If you look at paragraph -- if

    24     you look at paragraph 57 of his declaration, he specifically

    25     disowns XpertUniverse's proposed construction of inquiry
      Case 3:17-cv-03848-RS
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     1     types.    What he says is, is almost exactly what our

     2     definition is.

     3                    This is from this paragraph 118.         Paragraph 57

     4     is where he disagrees with XpertUniverse's construction.              In

     5     paragraph 118, inquiry types -- he says, inquiry types

     6     organize sets of underlying criteria.          This is a key concept

     7     in this patent your Honor.        And our definition correctly

     8     reflects the association between inquiry types and sets of

     9     underlying criteria, and that is missing from XU's proposed

    10     construction.

    11                    Expert -- this is their expert again saying

    12     XpertUniverse -- saying inquiry types are the connective

    13     logic between seeker inquiries and experts.            That's also

    14     missing from XU's proposed construction.

    15                    Inquiry criteria.      XpertUniverse has proposed,

    16     your Honor, basically the same definition for inquiry

    17     criteria as they have for inquiry type, and that's wrong.

    18     These are two distinct terms used in the patent that cannot

    19     have the same definition.        Very similar, your Honor, to the

    20     question you asked Mr. Cantine about the difference between

    21     inquiry criteria and underlying criteria.           Again, a

    22     different term that cannot have the same definition.

    23                    Here's a chart, your Honor that shows those

    24     three terms and the parties respective proposed claim

    25     constructions side by side.
      Case 3:17-cv-03848-RS
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     1                    THE COURT:    All right.     Let me just look at this

     2     for a second.

     3                    MR. SCHUMAN:     Sure.

     4                    (Pause.)

     5                    THE COURT:    All right.     Go ahead.

     6                    MR. SCHUMAN:     So I'm not going to backtrack, but

     7     here's our definition of inquiry type and here's

     8     XpertUniverse's.      Now we're on to inquiry criteria.         In our

     9     view, there are material differences between those two

    10     proposed constructions, yet these are two totally different

    11     terms used in this patent.

    12                    Inquiry criteria, underlying criteria, the

    13     question your Honor asked Mr. Cantine, and I think you have

    14     it exactly right.      There's a fundamental difference between

    15     these two.     Inquiry criteria are used in the interactive

    16     column definition page to define the seeker's inquiry.               They

    17     are displayed whereas underlying criteria are not.             And

    18     we'll get to this in a moment here in the slides.

    19                    But this definition of underlying criteria is

    20     right out of the specification.         Underlying criteria are not

    21     displayed.     They're the underlying -- they're the underlying

    22     terms that are used to create the inquiry type in the

    23     database, in the system, whereas inquiry criteria are what's

    24     displayed on this interactive problem definition page.

    25                    THE COURT:    Do you need the part on the inquiry
      Case 3:17-cv-03848-RS
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     1     criteria?    You could, couldn't you, go with subject

     2     categories used to define the seeker's query, end it

     3     there?

     4                    MR. SCHUMAN:     If your Honor's question is if

     5     this is redundant of some other claim language, if it's

     6     redundant of other claim language, we don't need it.              I this

     7     I think the critical point, though --

     8                    THE COURT:    I think in claim 1 -- let me just go

     9     back a second.      I mean, for example, claim 1, the very last

    10     clause, element, as opposed, wherein the presenting step

    11     presents an inquiry criteria and the values in the interact

    12     problem definition page that includes the first

    13     relationship.

    14                    I don't know.     It seems kind of redundant

    15     to have problem definition page be part of inquiry criteria.

    16                    MR. SCHUMAN:     However, your Honor, the word

    17     inquiry criteria appears in other places in the claims where

    18     it's not explicitly modified by --

    19                    THE COURT:    Right.      But it should be interpreted

    20     the same each place.       Right?

    21                    MR. SCHUMAN:     Right.    I would accept, your Honor

    22     that as long as the -- the construction requires that it be

    23     displayed to a user, if you cut off in an interactive

    24     problem definition page because that's described elsewhere

    25     in the claim language, that would be acceptable.
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     1                    THE COURT:    All right.

     2                    MR. SCHUMAN:     This is the specification.        On

     3     this very point, your Honor -- and I don't take your

     4     question as a disagreement with this, but the specification

     5     clearly teaches that inquiry criteria, the term we're

     6     focusing on here, end values, are selected and presented to

     7     a user in an interactive manner.         This is all part of the

     8     same excerpt, column 1, 41 to 51.          Such a subject list,

     9     they're presented in the subject list, and then the subject

    10     list is presented to the user in an interactive problem

    11     definition page.

    12                    This is the -- below is the excerpt that I

    13     referred to before describing how this patent covers the

    14     look and feel of the user interface, which includes

    15     displaying the inquiry criteria in this interactive problem

    16     definition page.

    17                    Here's another portion.       I mean, it's rampant

    18     throughout the specification that inquiry criteria are

    19     displayed in an interactive problem definition page.              Here

    20     it's referred to as the get assistance page.

    21                    So --

    22                    THE COURT:    Can you just go back to that?

    23                    MR. SCHUMAN:     Yes, your Honor.

    24                    THE COURT:    Right.    Okay.   Go ahead.

    25                    MR. SCHUMAN:     So if it's just a redundancy
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     1     point, your Honor, we don't have an objection there.              But I

     2     think the key point is that inquiry criteria, and this is

     3     one of the key fights between the parties --

     4                    THE COURT:    Right.      I know what you are saying.

     5     Inquiry criteria, built into that is it's displayed as

     6     opposed to the underlying criteria, which are not displayed

     7     because they went to something else?

     8                    MR. SCHUMAN:     Right.    That's the next term.

     9                    And I don't know if your Honor used the term

    10     subset when you were in colloquy with Mr. Cantine, but I

    11     think the inquiry criteria, there is a relationship between

    12     inquiry criteria and underlying criteria, but the way the

    13     patent has used these terms, it's very clear that the

    14     inquiry criteria are displayed in the interactive problem

    15     definition page whereas the underlying criteria are not.

    16     And our definitions reflect that distinction whereas, as we

    17     pointed out in our briefs and in the earlier slide,

    18     XpertUniverse has really blurred the distinction between

    19     these three terms, inquiry type, inquiry criteria, and

    20     underlying criteria.

    21                    So here's our proposed construction of

    22     underlying criteria.       XU says no construction necessary.

    23     Subject categories used to classify inquiry types according

    24     to a client's business objectives and information needs

    25     of a user.     No -- no requirement there that underlying
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     criteria be displayed in an interactive problem definition

     2     page.

     3                    And this is right out of the specification as

     4     well.    Subject categories used to classify inquiry types

     5     according to a client's business objectives and information

     6     need of a user.      Each inquiry type is classified using one

     7     or more underlying criteria, which are subject categories,

     8     correlated to the client's business objectives.            The

     9     criteria also reflect information needs of a user.

    10                    That portion of the specification, again, we may

    11     have rearranged the words.        That portion of the

    12     specification is almost verbatim our proposed construction

    13     of underlying criteria.

    14                    Values.    Your Honor used the word "choices" with

    15     Mr. Cantine and that's in our slide presentation.             I think

    16     values really are choices.        The fundamental problem we have,

    17     your Honor -- I will be very candid -- I don't understand

    18     that and that's not because I don't have a computer science

    19     degree.    I don't think a jury would understand that, your

    20     Honor.    The point here is to elucidate and illuminate terms

    21     of art used in the patent, and I don't think telling a jury

    22     to determine whether Cisco's products infringe you need to

    23     find inquiry criteria and values, and now this is what

    24     values means is going to help.

    25                    THE COURT:    Yes.    I think as far as XU's,
      Case 3:17-cv-03848-RS
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     1     I am likely to go with the no construction necessary

     2     argument.

     3                    MR. SCHUMAN:     Well, they don't defend it.        Their

     4     expert doesn't defend it.        They don't defend it in their

     5     brief either, so I think you're probably right about that.

     6                    THE COURT:    I mean, I think there is a

     7     legitimate question as to whether values isn't actually the

     8     obvious.

     9                    MR. SCHUMAN:     I guess, your Honor, it's hard

    10     to -- this is what --

    11                    THE COURT:    Just because they propose nonsense

    12     doesn't mean that it's not obvious.

    13                    MR. SCHUMAN:     Your Honor, I think there are a

    14     couple of key points about values.          A value is a choice, but

    15     in this patent, I think it's very important that the

    16     specification makes very clear, the values are displayed in

    17     a certain relationship, an interrelationship.

    18                    THE COURT:    Displayed is your key word.        Right?

    19                    MR. SCHUMAN:     Well, yes, because -- well, it's

    20     the patent's key words, your Honor.          This is about the look

    21     and feel of the interface, and when you dial an IVR system,

    22     your Honor, you may arguably be hearing criteria selections

    23     or what XU might call inquiry criteria, but you're not

    24     simultaneously seeing the values.

    25                    And the -- the disclosure in this invention, if
      Case 3:17-cv-03848-RS
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     1     there's any novelty here, the key point, which I don't

     2     acknowledge, of course, but the -- the specification makes

     3     clear that the get assistance page, the interactive problem

     4     definition page, displays to the user these inquiry criteria

     5     and the values.      And so you get to pick them.        You get to

     6     see them.

     7                    THE COURT:    So if you would just go back to the

     8     last slide for a second.        So if the definition of value were

     9     choices displayed to a user?

    10                    MR. SCHUMAN:     Yes.    That would be fine, your

    11     Honor.    That would be fine.      Choices -- there are criteria

    12     selections.     There are also choices, as we say here.

    13                    I think one concept that your articulation

    14     omitted, though, having a relationship to inquiry criteria,

    15     the patent goes on at length about how values, and

    16     including, you know, the subject list where you can

    17     configure this for the particular user where you may show

    18     certain values under a particular inquiry criteria or not,

    19     depending on who the user is.          So there's a defined

    20     relationship between values.

    21                    So I would accept, your Honor, values are

    22     choices displayed to a user.        But they're not just displayed

    23     anywhere.     They're displayed with a displayed relationship

    24     to inquiry criteria.       Both of those things are displayed on

    25     this interactive problem definition page.
      Case 3:17-cv-03848-RS
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     1                    Here's an example of making that very clear.

     2     This is the get assistance page, figure 2.           The red,

     3     unfortunately, blurs the text, but the values are the

     4     choices.    I mean, I think we're all on the same page about

     5     that.    The criteria are the -- highlighted in green, major

     6     coverage, et cetera.       The choices -- it's a drop-down menu,

     7     and you see the choices, and the choices are displayed in a

     8     particular relationship with the criteria.           They are not

     9     just choices put anywhere on this user interface.

    10                    THE COURT:    So I understand what you are saying.

    11     It sounds reasonable to me.        I mean, there's both the

    12     displayed to a user and there's some connection to the

    13     inquiry criteria.

    14                    MR. SCHUMAN:     Right.   That's down here at the

    15     bottom.    This is actually claim language.         The presenting

    16     step presents the inquiry criteria and the values in an

    17     interactive problem definition page that includes the first

    18     interrelationship.      This is disclosed in the patent.          It can

    19     be hierarchical, it can be independent, but there is a

    20     relationship between the values and the criteria.

    21                    And this presenting step, your Honor, actually

    22     was added during prosecution, and this is just a bit of

    23     the prosecution history to overcome this Walker reference

    24     that the examiner cited.        And XpertUniverse said Walker

    25     does not disclose, nor suggest, defining a first
      Case 3:17-cv-03848-RS
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     1     interrelationship between inquiry criteria and values in

     2     presenting the first interrelationship in an interactive

     3     problem definition page.

     4                    So just to tie it up, your Honor, while I would

     5     agree with your modification, choices presented to a user, I

     6     would just add that this concept of presented in an

     7     interrelationship with inquiry criteria has to be part of

     8     the definition.

     9                    In light of your comment, I'm not going to talk

    10     about their definition of values.

    11                    Interactive problem definition page.          I think

    12     the issue is pretty clearly joined here, your Honor.              We

    13     think this is a graphical user interface, or to answer your

    14     Honor's question, that you can't have a graphic user

    15     interface, the patent, as we pretty well covered now

    16     requires -- it talks about the look and feel.            What does it

    17     look like?     Things have to be displayed on the interactive

    18     problem definition page.        It has to be a graphical user

    19     interface.

    20                    THE COURT:    Which could be -- maybe this is

    21     irrelevant at this point, it could be on an iPhone?             It

    22     could be on a laptop?       It could be on anything that is

    23     capable of showing a picture of communicating?

    24                    MR. SCHUMAN:     I would agree with that, your

    25     Honor.    An iPhone is both a phone and a computer.           It has a
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
                        Document     106-103/19/12
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     1     monitor, going back to where the subject came up, but it

     2     also has a radio and it communicates over the voice channel.

     3     That's IVR.     That's not what's covered by this patent.

     4                    So I don't have a problem with the iPhone being

     5     a little computer with a monitor where you could display

     6     obviously a graphical user interface on an iPhone and use

     7     these pull-down menus and select your values and

     8     characterize your inquiry.        As long as we're clear about the

     9     limits to which a phone could be used, and --

    10                    THE COURT:    Well, I appreciate what you are

    11     saying.    I understand.

    12                    MR. SCHUMAN:     And while your Honor is correct,

    13     that the specification refers to a smart phone, which is

    14     key, not a phone.      A smart phone is defined --

    15                    THE COURT:    Didn't it say smart phone in the

    16     specification?

    17                    MR. SCHUMAN:     It did, your Honor.      I mean, I

    18     believe the portion of the specification that your Honor is

    19     referring to is column 3, line 65 of the '903 patent.

    20                    THE COURT:    Hold on just a minute.       Column 3,

    21     line 65?

    22                    MR. SCHUMAN:     Correct.

    23                    THE COURT:    Oh, yes, it does say smart phone.

    24     Keep going.

    25                    MR. SCHUMAN:     There's a pretty common
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     distinction between a smart phone and a feature phone, your

     2     Honor.    Feature phones typically don't have a browser and

     3     typically can't depict browser interfaces.           Smart phone

     4     certainly does.

     5                    THE COURT:    Certainly, when it's personal

     6     digital assistance or smart.        It certainly sounds like

     7     that's what it's talking about.

     8                    MR. SCHUMAN:     Right.   It's not talking about a

     9     phone call is the only distinction I want to make there.

    10                    THE COURT:    Got it.

    11                    MR. SCHUMAN:     The interactive problem definition

    12     page, I think the -- the key issue here, I think, as your

    13     Honor appreciates, is their definition is an attempt to

    14     broaden this to any responsive interface.

    15                    Your Honor asked Mr. Cantine where responsive

    16     interface may be found in the specification.            I would

    17     submit, your Honor, that it's not there.           I looked when we

    18     got their definition.       I don't think it's there.

    19                    THE COURT:    But the problem of redundancy comes

    20     up here, too, because, like, for example, again, claim 1

    21     of the '709 patent, the last paragraph, where it says,

    22     wherein presenting step inquiry criteria, the values in

    23     interactive problem definition page include a first

    24     interrelationship.

    25                    The definition that you suggest, it sort of
      Case 3:17-cv-03848-RS
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     1     includes all the rest of that element, that element in it,

     2     or most of it.

     3                    MR. SCHUMAN:     I would acknowledge, your Honor,

     4     there's some redundancy there.

     5                    THE COURT:    So I was wondering if -- I mean,

     6     it's interesting because interactive and page, those seem to

     7     be like pretty easy terms to understand.           The only thing

     8     that's different here is problem definition, don't you

     9     think?

    10                    MR. SCHUMAN:     Well, I think page, based on the

    11     attempt to broaden it to include any responsive interface,

    12     which is not just a page.

    13                    I think, to be very candid, I think a patent

    14     describes one type of user interface and that's the get

    15     assistance page, which is defined in the patent to be the

    16     interactive, the problem definition page.

    17                    So when XpertUniverse's proposal attempts to

    18     broaden that to include a responsive interface designated to

    19     facilitate either the specification of assistance or

    20     facilitate the categories of assistance, that would include

    21     an IVR system, your Honor.        That would write a claim right

    22     out of the claim language.

    23                    THE COURT:    So if your definition, your active

    24     problem definition page or your construction was an

    25     interactive graphical user interface, period, would that be
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     wrong?

     2                    MR. SCHUMAN:     It would be almost right.       I

     3     would go five words further, that uses the subject style

     4     list.

     5                    THE COURT:    All right.     Interactive graphic, but

     6     would use a subject list style, would that be -- would that

     7     capture what you are trying to capture?

     8                    MR. SCHUMAN:     It would, your Honor, and I think

     9     it would be consistent with the specification.

    10                    THE COURT:    All right.

    11                    MR. SCHUMAN:     I think the rest of the claim

    12     language pretty fairly gets at what has to be described in

    13     that graphical user interface.

    14                    THE COURT:    That was covered by maybe other

    15     parts of the claim elements?

    16                    MR. SCHUMAN:     That's my point.      The fact that it

    17     has to display user specific inquiry criteria and values may

    18     be covered by some of the other claim elements.            You hit on

    19     the key part of our definition.

    20                    THE COURT:    All right.

    21                    MR. SCHUMAN:     And I think this is a part of the

    22     specification that very clearly -- that most clearly, your

    23     Honor, supports that construction.

    24                    The get assistance page, 200, that's figure 2 of

    25     the '709 patent, also described here in as the problem
      Case 3:17-cv-03848-RS
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     1     definition page.      There's -- you are not going to find too

     2     many clear examples of the patentee telling you exactly what

     3     they mean by the term we're defining.

     4                    Allows a seeker to classify the nature of their

     5     problem in real-time to get an expert.           The problem

     6     definition functionality is displayed in a graphical user

     7     interface.     That's an example of it.

     8                    Your Honor asked, this is the portion of the

     9     specification cited by XpertUniverse for their broader

    10     construction.     And responsive interface is not there.           And,

    11     in fact, the portion of the specification they cite again

    12     refers to the look and feel of the platform.            That's a

    13     graphical user interface.

    14                    If there are no other questions, I will move

    15     on.

    16                    Inquiry criteria values.       Similar, but slightly

    17     different to values, your Honor.         XpertUniverse's definition

    18     of inquiry criteria values is very similar to their proposed

    19     definition of values.

    20                    THE COURT:    And let me just see your definition

    21     for a second.

    22                    MR. SCHUMAN:     Sure.   It's up here on the screen.

    23                    THE COURT:    I was -- hold on just one second.

    24                    MR. SCHUMAN:     Sure.

    25                    (Pause.)
      Case 3:17-cv-03848-RS
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     1                    THE COURT:    You give in this inquiry criteria

     2     values, which has got two other terms.           I think you defined

     3     somewhere else inquiry criteria and values.

     4                    Is your construction there consistent with how

     5     you construe the parts?

     6                    MR. SCHUMAN:     It is, your Honor.      I think we may

     7     have been slightly inartful in saying selections, because

     8     what inquiry criteria values are are pre-selected selections

     9     made for a particular user by the system.           And that's what

    10     we meant when we said selections.          In other words, these are

    11     selections that have been made.         And I think that is

    12     the key distinction between inquiry criteria values and

    13     values.

    14                    Values are presented, and the user gets to

    15     choose.    When the patent specification describes the

    16     system's capability of pre-selecting, the organization wants

    17     to limit particular users only to certain choices.             Those

    18     are called inquiry criteria values.

    19                    So we said selections displayed, meaning these

    20     are selections that have already been made, and that may

    21     have been inartful.       A better way to put it might say

    22     pre-selected, although I don't think that's necessarily an

    23     artful term either.

    24                    Predetermined is the phrase used at column 4,

    25     line 4 of the specification, where it's defining inquiry
      Case 3:17-cv-03848-RS
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     1     criteria values.

     2                    THE COURT:    Where did you say it was?

     3                    MR. SCHUMAN:     Column 4 of the '709 patent, your

     4     Honor, starting at line 4, the first full paragraph at the

     5     top.

     6                    THE COURT:    All right.

     7                    MR. SCHUMAN:     Predetermined indicators in the

     8     seeker's profiles can restrict the pool of qualified experts

     9     available to the seeker.        Seeker profiles can also restrict

    10     those inquiry types available to the seeker by embedding

    11     in inquiry criteria values as the predetermined indicators.

    12                    So these are choices that are effectively made

    13     for the user by the -- by the organization that set up the

    14     interface.

    15                    THE COURT:    All right.     Can you do me a favor,

    16     because you said maybe it's inartful.          Could you say by the

    17     end the tomorrow, with no argument, just submit what you'd

    18     like the artful -- Cisco's artful construction to be?

    19                    MR. SCHUMAN:     Yes.    It will say predetermined.

    20                    THE COURT:    It would be that, but predetermined

    21     before selections?

    22                    MR. SCHUMAN:     Yes.

    23                    THE COURT:    Okay.     Well, you don't need to do

    24     that, then.

    25                    MR. SCHUMAN:     And the support for that, and this
      Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA      Document
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     1     is cited in our joint claim construction statement, but it's

     2     column 4, starting at line 4 through line 10.

     3                    THE COURT:    All right.

     4                    MR. SCHUMAN:     Your Honor, I think we should, in

     5     the interests of time, get through plurality of monitors.                  I

     6     think this has come up already.

     7                    This is the issue about interactive

     8     communication devices.       As your Honor said, a pager, or a --

     9     a cellphone operating in phone mode could be a communication

    10     device, and that is, in our view, not supported by any of

    11     the claims or any of the disclosure in the spec.

    12                    And I think also, in the interests of time,

    13     there are a collection of terms, your Honor, in the joint

    14     claim construction statement.

    15                    There are a group of terms, ten -- okay.           We're

    16     going to skip this one.

    17                    THE COURT:    All right.

    18                    MR. SCHUMAN:     Looking at the clock, your Honor,

    19     I see we only have about 15 minutes left and we have one

    20     more patent with a few terms to get through.

    21                    THE COURT:    All right.     Go ahead.

    22                    MR. SCHUMAN:     This is not a term, a patent term

    23     of art, but in thinking about these two patents, we've just

    24     discussed quite a bit the '709 patent, which I characterize

    25     as the look and feel patent.        And the '903 is the match and
      Case 3:17-cv-03848-RS
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     1     route.    This is the one that claims the unique numerical

     2     routing identifier that actually gets you from your

     3     selections in this interaction process definition page the

     4     to the right agent or expert.         So this is the routing or

     5     matching functionality is what's claimed in this '903

     6     patent.

     7                    Ms. Walsh is going to address the first two

     8     terms.

     9                    MS. WALSH:    So this term is underlying plurality

    10     of criteria grouping.       And before, as Mr. Schuman discussed,

    11     there's a relationship between the underlying plurality of

    12     criteria groupings.       This is recited in Cisco's

    13     construction, which says two or more groups of humanly

    14     understandable descriptors that identify inquiry types.

    15                    XU's construction, the last clause says, wherein

    16     each collection of a set of collections of assistance, the

    17     type of assistance requested can be a number of zero or more

    18     sets.    And that implies that the plurality of criterion

    19     grouping doesn't have to be a member of any set at all.              It

    20     seems to be not related to anything.

    21                    And as you see in the specification, this is

    22     similar to the intrinsic evidence used for inquiry type.              It

    23     says, the inquiry type, which is the specific grouping of

    24     underlying criteria, again, at column 5, a couple times, and

    25     then again in the '903 patent, in column 1, and again at
      Case 3:17-cv-03848-RS
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     1     column 2.

     2                    And as we set before, XU's construction seems to

     3     conflict with the claim language because it says, as I said

     4     before, wherein each collection can be a member of zero or

     5     more sets.     And here, it talks about how the underlying

     6     criteria groupings are associated with the inquiry types and

     7     the additional layers.       And so the idea that it's not a

     8     member of any set.

     9                    THE COURT:    Oh, so if XU had said one instead of

    10     zero?

    11                    MS. WALSH:    If it's a member of a set, then,

    12     yes, because the zero or more implies that no grouping

    13     of --

    14                    THE COURT:    I mean I think I get you.        I am

    15     just wondering if they had said one instead of zero,

    16     whether...

    17                    MS. WALSH:    Could be.     I would have to look at

    18     that a bit.     But, yes, I think that's a little bit closer to

    19     what's reflected in the claims.

    20                    And moving on to skill-set database, I believe

    21     Mr. Cantine addressed this one earlier this morning.

    22                    So basically there are three points here.           The

    23     '903 patent does not talk about routing to resources.              It

    24     does not talk about routing the agent.           It talks about

    25     routing to a live expert.        And then also the claim language
      Case 3:17-cv-03848-RS
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     1     indicates that the skill-set database has to -- has to

     2     contain associated --

     3                    THE COURT:    So you would say the '903 patent, in

     4     just general -- generally, in construing it, you end up with

     5     a construction that doesn't make sense in terms of getting

     6     the live expert, then you're probably not making good

     7     construction?

     8                    MS. WALSH:    I believe so, yes.       I think

     9     resources is too broad because it can sweep in, say a

    10     document, the Web page, something like that, something

    11     that's not a person.

    12                    THE COURT:    And basically every time -- I mean,

    13     I certainly saw live expert multiple times, but basically

    14     you would say a fair reading of the specification is the

    15     only thing it talks about is live experts?

    16                    MS. WALSH:    Yes, or that's the only thing that

    17     it's talking in matching and routing, too.

    18                    THE COURT:    All right.

    19                    MS. WALSH:    And so the claim language indicates

    20     that the skill-set database must contain associations

    21     between the inquiry types and the expert skill sets and the

    22     experts, and so in Cisco's construction, we believe that's

    23     pretty much taken care of by the claim language, and so

    24     what's in the database is at least the actual experts.

    25                    THE COURT:    Well, let me just ask, because I
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     1     take it in your proposed definition, records organized

     2     into computer readable/writable memory, I assume that's

     3     database?

     4                    MS. WALSH:    That's database.      I believe --

     5     yes.

     6                    THE COURT:    And you don't think database is --

     7     how is that an improvement over database?

     8                    MS. WALSH:    I believe that we agreed on the

     9     construction of database.

    10                    THE COURT:    Oh, did you?

    11                    MS. WALSH:    I think so.

    12                    THE COURT:    So just on your agreed construction

    13     on database, why is that something that needs to be

    14     construed?

    15                    MS. WALSH:    It may not.

    16                    THE COURT:    Isn't that pretty much widely

    17     understood by both experts and non-experts?

    18                    MS. WALSH:    I would say so.      I think so.

    19                    THE COURT:    All right.     But, in any event, the

    20     skill-set database, an important part is -- well, actually,

    21     because you've got that word "unique" in there.

    22                    MS. WALSH:    Yes.

    23                    THE COURT:    Where are you getting that from?

    24                    MS. WALSH:    In the claim language, it talks

    25     about how the experts have individualized knowledge, which
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     1     is another term that we've discussed this morning.

     2                    THE COURT:     Yes.   I don't think individualized

     3     means unique.

     4                    MS. WALSH:     It does.   It may not.     There may be

     5     a better word for that, but within the context of that claim

     6     term and within the context of the patent, it means

     7     something more than just merely being an expert, so it could

     8     mean that that expert has different knowledge.

     9                    THE COURT:     Isn't it just having knowledge on

    10     specific topics?

    11                    MS. WALSH:     An expert could be having knowledge

    12     on specific topics.       An expert having individualized

    13     knowledge has something more.         Some knowledge in terms

    14     of --

    15                    THE COURT:     I would have thought individualized

    16     could mean, you have five topics and the expert only knows

    17     about two of them, and some other expert knows about two

    18     others of them.      Right?   That would be individualized

    19     knowledge, wouldn't it?

    20                    MS. WALSH:     I would say that that refers more to

    21     the expert's knowledge of those topics rather than the

    22     topics that the expert has, because a lot of the

    23     specification is devoted to defining what topics the expert

    24     has knowledge on.      And within that, I think that's the part

    25     that's individualized.
      Case 3:17-cv-03848-RS
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     1                    THE COURT:    All right.     Well, I mean, I think --

     2     I don't know what's a better word than "unique," but I don't

     3     think "unique" is right.        So, in any event, keep going.

     4                    MS. WALSH:    In XpertUniverse's construction, you

     5     see how it could include some or all of several different

     6     associations between the experts.          Some means that it could

     7     only include two of those groups when actually the claim

     8     language indicates what the association that the skill set

     9     has.

    10                    So if you go to the claim language, it recites

    11     supplying a skill-set database that includes an entry that

    12     associates at least one expert, so you have the experts

    13     already in the skill-set database with one of the

    14     predetermined semantically expressed inquiry types.

    15                    THE COURT:    Actually, I guess you did that after

    16     the claim construction chart.         And in some ways, I mean,

    17     isn't that actually, because we're talking about a skill-set

    18     database in regards to this match and route system.             Some of

    19     the skills we're interested in are the ones that relate to

    20     either the underlying criteria or the inquiry criteria or

    21     some kind of criteria.       Right?

    22                    MS. WALSH:    Yes.     The inquiry type, I would say.

    23                    THE COURT:    All right.

    24                    MS. WALSH:    And as I said before, XU's

    25     definition includes --
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      1                    THE COURT:    Actually, it's funny if you agree

      2     that database is records organized in computer-readable/

      3     writable memory, I'm not sure why XU would be saying a

      4     digital storage and retrieve information system.             But I

      5     don't think that's important, so move on.

      6                    MS. WALSH:    Okay.    Again, there's the claim

      7     language.    It already recites what the relationship

      8     between -- or what the entry contains.           To the extent that

      9     that is the issue of construction, we think that's already

    10      included in the claim language.

    11                     And, again, going to the prosecution history, it

    12      says that, talking about populating inquiry types and

    13      underlying criteria that are populated in a database, and

    14      then a skill set is linked to the semantic increase.              So

    15      you're linking what the expert can give help onto the a type

    16      of help that's needed, and experts having the skill that are

    17      non-semantically associated with the inquiry type in the

    18      database.    So I think that's illuminating as to what's

    19      happening in the skill-set database.

    20                     And, again, going to the specification, it gives

    21      a little bit more detail, so it's talking about how the

    22      experts, or the entries in the skill-set database are

    23      associated with the inquiry types.          And the way it does this

    24      is through the unique numerical routing identifier.              And,

    25      again, discussing how the specification describes routing to
       Case 3:17-cv-03848-RS
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      1     a live expert.

      2                    And an expert having individualized knowledge.

      3     I think we already kind of defined the dispute on unique, so

      4     with that, I will turn it over to Mr. Schubert.

      5                    THE COURT:    All right.     Thank you.

      6                    MR. SCHUMAN:     Could I just ask, your Honor, how

      7     much time do we have left?        We have a few more terms.

      8                    DEPUTY CLERK:     You have seven minutes left.

      9                    MR. SCHUMAN:     Seven minutes.     Okay.

    10                     Unique numerical routing identifier, your Honor.

    11      I will crystallize the dispute between the parties here.

    12                     If you take a look at the language highlighted

    13      in red from XU's construction, mathematically distinct

    14      encoding for data relevant to an inquiry.           That's way too

    15      broad, your Honor.      The specification is very clear and our

    16      definition matches it very clearly.

    17                     A skill set entry and the inquiry type, those

    18      are the two things being matched by the unique numerical

    19      routing identifier.       It's a number that matches the skill

    20      set of the expert stored in the database with this inquiry

    21      type, and that's how you get this flexibility that prior

    22      art systems supposedly didn't have, because no matter who

    23      your experts are, you populate the people.            As long as they

    24      have those skills, you're always going to use the same

    25      routing number between the inquiry type and those skill
       Case 3:17-cv-03848-RS
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      1     sets, and then the database figures out, using this unique

      2     numerical routing identifier, you get to the right skill

      3     set, then you can get to the right experts.

      4                    So it is far more specific than distinct

      5     encoding for data relevant to an inquiry.           It's a number

      6     that associates an inquiry type with a skill set entry in

      7     the skill-set database, and that's our construction.

      8                    Match and route system, your Honor, I appreciate

      9     the discussion before.       I don't want to dwell on this.         If

    10      your Honor chooses not to construe it, that's fine, but I

    11      would like to just point out the stark distinction between

    12      the parties' two constructions.         XU did go on and propose a

    13      construction.

    14                     THE COURT:    And just so I know, is your position

    15      that this is an element of some claim?

    16                     MR. SCHUMAN:     I think it breathes life into the

    17      claim, yes.     I think it breathes life into claim 5 of the

    18      '903 patent because what it does is, the steps described

    19      talk about using the unique routing identifier to route, and

    20      that's the match and route system.          So I think that's what

    21      the cases call breathes life into the claim.

    22                     But if you just focus for a moment on what they

    23      would like to argue to the jury a match and route system is,

    24      it's any architecture that maps a resource or information

    25      request to possible resources or information sources, and
       Case 3:17-cv-03848-RS
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      1     provides a link to the identified information source.

      2                    That's a Google search, your Honor.          An

      3     architecture that maps an information request -- I type in

      4     my query -- to possible resources or information sources --

      5     a Web page, and that provides a link to the identified

      6     source.

      7                    So, again, I would like to use the rest of my

      8     time on another term.

      9                    THE COURT:    Okay.    Go ahead.

    10                     MR. SCHUMAN:     But that can't be right.

    11                     Layers.    A significant concept in the '903

    12      patent, your Honor, is repairs layers of inquiry type.              And

    13      I think it's important that we crystallize what the dispute

    14      is between the parties here, because with Mr. Cantine you

    15      had a discussion about the differences between our

    16      particular definitions.       They're not significant except for

    17      the fact that we use underlying criteria, which is exactly

    18      the language in the -- in the specification.

    19                     The real distinction, your Honor, the real fight

    20      here is there's a first layer of inquiry types, and then

    21      added in prosecution, the patent requires one or more

    22      additional layers of inquiry types.

    23                     And our position is that each layer of inquiry

    24      types has a corresponding set of underlying criteria.              The

    25      patent defines an inquiry type to be a specific grouping of
       Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA        Document
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      1     the underlying criteria.

      2                    So our definition is that each layer in this

      3     layered database, two or more, the first layer plus one or

      4     more additional layers, is an inquiry type with its

      5     corresponding underlying criteria grouping.

      6                    XpertUniverse says, no, only the first layer has

      7     to have underlying criteria.         All the other layers don't.

      8     That's the fight.      It's not so much the actual wording of

      9     the parties' definitions of what a layer is, it's what has

    10      to appear in layers two and -- two and further on down.

    11                     And I think it's very clear from the dependent

    12      claims, part of the intrinsic evidence -- just focus on

    13      claim 9 for a moment.       These are all dependent claims

    14      describing the additional layers.

    15                     Claim 9, a method of claim 1, further comprising

    16      the step of selecting one of the layers of inquiry type for

    17      presentation of the underlying criteria grouping to the user

    18      based on a predetermined user profile.

    19                     The one or more additional layers of inquiry

    20      type have to have associated underlying criteria groupings

    21      in order for them to be presented, as dependent claim 9

    22      requires.

    23                     Other language in the specification refers to

    24      the different layers being presented.           The only thing there

    25      is to present are the criteria, the inquiry criteria and the
       Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA        Document
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      1     values, those things that are presented on the problem

      2     definition page.

      3                    The inquiry type, your Honor, actually is never

      4     presented in this invention.         That's the accumulation of

      5     your choices in this interactive problem definition page.

      6     The system, once you've made these choices, creates the

      7     inquiry type.     It's not displayed to the user.

      8                    When the patent talks about displaying layers,

      9     they're talking about the inquiry criteria that are

    10      displayed.    This is further evidence that the -- each of

    11      these layers has to have underlying criteria.

    12                     The patent does not have a figure depicting this

    13      layering concept, so we try to be creative.            I think

    14      Mr. Cantine had a figure, but it didn't really go to

    15      layering.    And here's what they're getting at.           These

    16      additional layers are described in the specification as

    17      being semantic representations of the first layer use using

    18      different jargon, user-centric terms.

    19                     I think Mr. Cantine referred to an engineer

    20      might speak one way using terms and a salesperson might

    21      speak another.     That's what these layers are getting at.

    22                     Hypothetically, we took an auto service shop,

    23      and if you have sort of a customer service representative

    24      meeting you and you bring your car in for service and he's

    25      using this system in this patent, hypothetically, let's say
       Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA        Document
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      1     he's Hispanic, so he speaks Spanish and English.             Maybe he

      2     speaks one language better than the other, because one layer

      3     can be layer one using a different language, Spanish.

      4                    So the customer goes to Carlos and says, I need

      5     help with -- I have a motorcycle and I need help with new

      6     tires for the motorcycle and my motorcycle is a BMW.              Using

      7     the inquiry criteria, Carlos navigates the system and he

      8     gets to an inquiry type, and the inquiry type is a summation

      9     of the choices he made -- motorcycle, tires, Harley-Davidson

    10      or BMW, whatever I said.

    11                     But let's say Carlos is more comfortable

    12      inputting this information in Spanish, and when Carlos logs

    13      into the system, the system knows that Carlos prefers to

    14      input his information in Spanish.

    15                     Layer 2 in the database is a replication of

    16      layer 1 in Spanish, so Carlos can use the system and make

    17      the same selections in Spanish.         (Speaking Spanish) BMW.

    18                     And layer 3, I guess we would call jargon.           Same

    19      concept, though.

    20                     The point here, your Honor, is, what has to be

    21      in these additional layers?        That's what the fight is about

    22      between the parties in the briefs.

    23                     XpertUniverse says only layer 1 has these

    24      underlying criteria associated with them.           We say that can't

    25      be right.    It's not right.      The claim language in the
       Case 3:17-cv-03848-RS
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      1     specification made very clear that the additional layers, if

      2     you are going to select layer 2 for Carlos to present to him

      3     in Carlos, then you're infringing claim 9, and what you are

      4     presenting is a layer of inquiry type for presentation of

      5     the underlying criteria grouping to the user based on the

      6     user's predetermined profile.

      7                    Each of the layers is the same, and they all get

      8     you to the same place, which is this inquiry type, which is

      9     then matched by this unique numerical routing identifier to

    10      an expert skill set in the database, and then the underlying

    11      things here, the experts themselves, the live experts, the

    12      individuals, can change.

    13                     And some of the inquiries can change, but you

    14      still have this connection, this layer of abstraction that

    15      supposedly adds the flexibility to the system.

    16                     If we have any time left, we have a few terms

    17      here.    I don't know if we have time.

    18                     These terms, your Honor, there's a collection of

    19      terms at the end.

    20                     THE COURT:    It says here you're out of time, so

    21      how about if you take one minute to wrap up.

    22                     MR. SCHUMAN:     The one minute on these terms

    23      is, does it have to be displayed in a graphical interface or

    24      not in the active definition page?          And these are '903

    25      terms.
       Case 3:17-cv-03848-RS
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      1                    The '709 patent is the one that explicitly

      2     claims the graphical user interface.          The '903, your Honor,

      3     describes no other user interface than figure 2, the get

      4     assistance page.      We had that discussion before about the

      5     overlap.

      6                    Figure 2 in the '903 is the get assistance page,

      7     and at column 4, your Honor, line 41 on down of the '903

      8     patent is the only description in the specification of the

      9     type of interface that one can use to access the match and

    10      route system of the '903.

    11                     And so the fight on these terms, your Honor, and

    12      these are the -- in the joint claim construction statement,

    13      your Honor, these are claims, and they were briefed

    14      together, Nos. 8, 9, 10 and 11.

    15                     THE COURT:    All right.

    16                     MR. SCHUMAN:     And the fight here is whether

    17      these terms require the use of the interactive problem

    18      definition page, the graphical user interface or not.

    19                     And that's the summary of those terms.

    20                     THE COURT:    All right.     Thank you.

    21                     MR. SCHUMAN:     Thank you very much, your Honor.

    22                     THE COURT:    All right.     Mr. Cantine, I guess.

    23      Am I mispronouncing it?

    24                     MR. CANTINE:     That's okay.     Everybody does.

    25      It's Cantine, yes.
       Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA        Document
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      1                    Let me just touch on a few points that

      2     Mr. Schuman raised.

      3                    First, with regard to, you know, this person of

      4     skill in the art issue, our expert did not say that you had

      5     to have a Master's degree.        He said you could have a

      6     Master's degree or a sufficient amount of industry

      7     experience.     All the inventors on the patents of the XU

      8     patents have 25 years or more of industry experience.              So

      9     they're certainly persons of skill in the art.

    10                     Now, Mr. Schuman spent a lot of time talking

    11      about these prior art systems, right, and that Genesys and

    12      Siemens and others, you know.

    13                     If all XU was offering when it was already out

    14      there, then why did they work with us for two-and-a-half

    15      years?    Right?   He does not talk about that.         I mean -- and

    16      it's immaterial, actually, to what we're talking about here,

    17      your Honor.     It's a precursor to their premature partial

    18      summary judgment motion they just filed, which we think is

    19      completely ridiculous, because discovery isn't even close to

    20      ending and it's a violation of local rules and everything

    21      else.    But we'll brief that for you.

    22                     Let me talk about a few things that he

    23      mentioned.    Member of an organization.         All right?    This

    24      predetermined group, things like that, you know, our

    25      proposed definition talks about someone that's associated
       Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA        Document
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      1     with or authorized by.       All right?     It's someone that's

      2     going to use the system.        We've shown you how that person

      3     can be within the company or it can be a customer outside

      4     the company.

      5                    THE COURT:    It seems like you have a better

      6     argument for it being outside the company in the first

      7     patent than in the second patent.

      8                    MR. CANTINE:     No.   I think clearly, your Honor,

      9     if you look at claim 1 by way of example, the '709 patent,

    10      you'll see -- let me get my glasses on.

    11                     If you look at the last page of the patent in

    12      column 9 there, which is part of claim 1, you have that

    13      clause at the top, receiving from a first member of the

    14      organization inquiry types reflecting information.             That

    15      first member, that could be someone within the organization.

    16      That could be the administrator setting up a system.              We

    17      don't have a problem with that.         But that's not the only

    18      member that's recited here.

    19                     If you go down to the fourth clause, you will

    20      see there pre-selecting, prior receiving an inquiry from a

    21      second member of the organization, a quantity of inquiry

    22      criteria.    That second member, he's the user of the system.

    23      Right?    He's the one logging into that problem definition

    24      page.

    25                     THE COURT:    That's a funny way to define just
       Case 3:17-cv-03848-RS
Case 1:09-cv-00157-RGA        Document
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      1     user of the system if it's user of the system has no

      2     limitations.

      3                    MR. CANTINE:     No, I'm not saying it doesn't have

      4     a limitation, but a member of an organization as we've

      5     proposed is someone that's authorized to use the system.

      6                    They had this concept of this predetermined

      7     company here or whatever.        But, you know, I'm a member of

      8     Costco.    I can walk in.     I've got my little card.        I'm not

      9     an employee Costco.       I'm a member of the gym.

    10                     THE COURT:    I think maybe their definition that

    11      had, as I recall, a group, you could be a member of Costco

    12      and a member of the organization without being employed

    13      by them, but you can't be just a person who is interested

    14      in buying a BMW, and log onto BMW and start asking

    15      questions.

    16                     MR. CANTINE:     No, but if part of the -- these

    17      products can be employed in a kiosk, let's say, within a

    18      store.    A customer is going to come up and start typing in

    19      some information, looking for information on the computer.

    20      Right?    He's buying a Dell computer and Dell set up this

    21      little kiosk to help him do it.         It's someone the system

    22      contemplates using, and it's an authorized user in the sense

    23      we've made this kiosk publicly available.           He can come use

    24      it.

    25                     I don't think the parties are all that off.
       Case 3:17-cv-03848-RS
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                                                                               112


      1     It's just, you know, we don't know exactly what they mean by

      2     predetermined member of a group.         We think our proposal,

      3     that someone has authorized to use the system, or someone

      4     that's associated with a company makes more sense and is

      5     specifically supported by the patent, which contemplates

      6     people both inside and outside the organization using these

      7     products.

      8                    Let me touch briefly on inquiry type.          I think

      9     we both spent a lot of time on that.

    10                     You know, Mr. Schuman didn't address the

    11      argument that they've already agreed what that term means,

    12      and that the three terms we agreed, one of those being that

    13      predetermined semantically expressed inquiry type.                That's

    14      one of the slides.

    15                     If you can go back to that.        Go down, yes.

    16      Keep going.     Keep going.     Go up.   There you go.      All

    17      right.

    18                     All right.     So, again, we spent a lot of time

    19      talking about these 25 terms Cisco initially identified.               We

    20      had a lot of meet and confers, a lot of phone calls amongst

    21      the lawyers, and we were able to agree finally on what

    22      predetermined semantically expressed inquiry types means,

    23      and we both agree, Cisco and XpertUniverse agree, terms that

    24      organize and identify categories of assistance requested.

    25      Right?    That's clearly talking about inquiry types, because
       Case 3:17-cv-03848-RS
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      1     the predetermined semantically expressed, that's the rest of

      2     this language.     All right?

      3                    So we spent a lot of time and effort coming up

      4     with that agreement of what is meant by inquiry types, and

      5     that's exactly what we've offered as a proposal.             Cisco

      6     apparently changed their mind, but Mr. Schuman didn't

      7     address that point in his argument to you as to why somehow

      8     they shouldn't be held to what they already agreed to.

      9                    THE COURT:    Yes.    Maybe that's one of the

    10      reasons sometimes it's hard to get lawyers to agree to

    11      something, because they're afraid it will be used against

    12      them in some other context.

    13                     MR. CANTINE:     Well, I'm not saying it in that

    14      context here, your Honor.        I am saying we spent a lot of

    15      time identifying what is meant by inquiry types and now all

    16      of a sudden they're changing it.         We just think they ought

    17      to be held to what they agreed to.

    18                     Let's go on to inquiry criteria.         Can we show

    19      figure 2?

    20                     This is fine.     We can use this.      That has figure

    21      2 from the '709 patent.

    22                     And, clearly, inquiry criteria.         Right?    You've

    23      got this line of business, major coverage and things.

    24      That's what inquiry criteria means.          It's the business --

    25      the subset of other companies.         And most of Mr. Schuman's
       Case 3:17-cv-03848-RS
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      1     arguments seem to be whether or not this had to be displayed

      2     to the user, and whether or not that should be within their

      3     proposed construction.

      4                    And I would suggest to you, your Honor, if you

      5     look at claim 1 of the '709 patent, this displayed to the

      6     user is already there.        Again, it's this redundancy.

      7                    THE COURT:     No.   I mean, I think redundancy in

      8     some of these definitions, that's an issue.            You know, do

      9     you think it is the case that if I define something -- let's

    10      say I define inquiry criteria and then I read the element

    11      that has inquiry criteria in it.         With the definition in

    12      there, it ought to make sense?

    13                     MR. CANTINE:     Yes, I do think it should make

    14      sense.    I mean, that's what the jury is going to be

    15      presented with.      Right?

    16                     THE COURT:     Right.

    17                     MR. CANTINE:     And if it doesn't make sense, is

    18      it helpful to them?       I don't think so.

    19                     And when the clause already says presenting the

    20      inquiry criteria and the values in interactive problem

    21      definition page, well, again, this whole issue that they

    22      keep wanting to plug into their proposed constructions

    23      about displaying it to the user and how that's so important,

    24      it's already there.       It's in the claim.      We don't need to

    25      add it.
       Case 3:17-cv-03848-RS
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      1                    THE COURT:    There's only one independent claim

      2     in the '709 patent; right?

      3                    MR. CANTINE:     Claim 5 is also dependent.

      4                    THE COURT:    There are two.      All right.

      5                    MR. CANTINE:     So, again, on inquiry criteria, we

      6     think we ought to go with what we already agree with and

      7     this whole display issue is reflected in other parts of the

      8     claim.    We don't have to have that in the construction.

      9                    Let me talk about values really quickly.

    10      Mr. Schuman was suggesting that it's somehow a term of art.

    11      I don't think so.      I think we all agree it's choices.

    12                     Again, this whole issue about displaying, we had

    13      a lot of discussion with Mr. Schuman about whether or not

    14      it's displayed to the user.        Again, it's already in the

    15      patent, your Honor.       It's in the claim.      All right?

    16                     And presenting inquiry criteria and the values

    17      and interactive problem definition page.           Right?    So it's

    18      the presenting.      It's already there?      The rest of the claim

    19      is already provided for.        We don't have to argue about

    20      whether it's displayed.       All right?

    21                     So his suggestion that the choice is displayed

    22      to the user, I don't think it's necessary.            That display

    23      aspect is already there.        If you want to call it choices

    24      versus values, I don't know how that really helps the jury

    25      all that much.     I think values is clear enough.
       Case 3:17-cv-03848-RS
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      1                    THE COURT:    Do you -- never mind.       Go ahead.

      2                    MR. CANTINE:     Okay.   Let me move on to the '903

      3     patent.    I'm not going to talk about every term.

      4                    THE COURT:    I'm not sure, but you can't have

      5     more than about a minute or two left.

      6                    MR. CANTINE:     Okay.   I will do it quick then,

      7     your Honor.

      8                    Skill-set database, we'd be happy to go with

      9     what we agreed with.       All right?    The parties agreed what

    10      computer database means, computer readable/writable medium.

    11      We'd be happy to do that.        All these associations that

    12      they're talking about again are already present in the

    13      claim.    The skill-set database containing blah, blah, blah,

    14      blah, blah.

    15                     THE COURT:    The definition that you agreed to

    16      for database, you're not doing that for the person skilled

    17      in the art.     You're doing that for the juror?

    18                     MR. CANTINE:     Yes.    I mean, the problem is, it's

    19      one of those terms that patent lawyers throw around all the

    20      time.    Computer readable/writable medium has become kind of

    21      the go to language whenever you want to talk about a

    22      computer or database.

    23                     THE COURT:    That strikes me as more confusing

    24      for jury than database.

    25                     MR. CANTINE:     We would be happy to leave it.
       Case 3:17-cv-03848-RS
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      1     You know, original proposal was always it does not need to

      2     be construed.     So we think a database -- I think the jury

      3     would understand what database is.          A skill-set database is

      4     just an adjective.

      5                    THE COURT:    Well, I mean, it's something if they

      6     don't understand database, I don't think they're going to

      7     understandable readable/writable memory.

      8                    MR. CANTINE:     We can explain it to them.

      9     Right?    That's what our job is to do.         I agree with you,

    10      I don't think it's another one that needs to be construed.

    11                     THE COURT:    You have one minute to wrap up.

    12                     MR. CANTINE:     Let me just, real quickly, the

    13      layers of inquiry type, something at the end there.              He's

    14      suggesting that there's this, like, replication, and that's

    15      simply not the case.       As we pointed to you, the example of

    16      sales and the engineer.

    17                     They're providing their own get assistance page.

    18      They're not the same get assistance page.           There's not

    19      necessarily the same number of choices they have to make.

    20      It's all customized.       They each get to their own inquiry

    21      types.    Those inquiry types are related to one another that

    22      enables the rest of the system, but to suggest that one

    23      layer has to be replicated in another layer is just not

    24      consistent with the teaching of the patent.

    25                     And last on numeric I.D., again, I don't think
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      1     it's necessary to construe it.         I think adding a whole bunch

      2     of verbiage to a fairly straightforward term isn't going to

      3     be helpful to the jury.

      4                    I appreciate your time.       Thank you, your Honor.

      5                    THE COURT:    All right.     Thank you.

      6                    MR. BLUMENFELD:     Your Honor, before we leave --

      7                    THE COURT:    Yes, yes.      There were one or two

      8     things.    But, yes?

      9                    MR. BLUMENFELD:     One minute, I hope.       This case

    10      is about three years old and Judge Schiller set it on the

    11      schedule through today and there's no schedule for after

    12      today.

    13                     THE COURT:    Oh.   Did I say somewhere along the

    14      way I would set a schedule after today?

    15                     MR. BLUMENFELD:     No, no.    What I was going to

    16      do, and I think we talked before this, hopefully, we could

    17      get a scheduling conference within the next couple weeks so

    18      we could set a schedule for the rest of the case, and that

    19      would be good.

    20                     THE COURT:    You know, I'm trying to, these cases

    21      that I picked up, because of the practice in Philadelphia

    22      and I think in New Jersey, too, is pretty much not to set

    23      things through to the end --

    24                     MR. BLUMENFELD:     Right.

    25                     THE COURT:    -- so I certainly would welcome you
       Case 3:17-cv-03848-RS
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      1     to work with a scheduler.

      2                    I will ask -- let me remember this.          I will get

      3     a Rule 16 scheduled and ask that whatever parts of the

      4     standard order that I have that are not already superseded

      5     by events, see if you can't agree on dates or whatever and

      6     we'll get this scheduled out to the end.           Okay?

      7                    MR. BLUMENFELD:     Yes.    Thank you, your Honor.

      8                    THE COURT:    And so I've now got claim

      9     construction.     I did see that there had been some kind of

    10      motion to leave to file summary judgment or partial summary

    11      judgment or something.       And I saw even less of -- I'm

    12      reminded that there was also some sort of motion to

    13      dismiss.

    14                     Is any of this -- obviously, claim construction

    15      is briefed.     Is any of this other stuff briefed, or where do

    16      we stand on that?

    17                     MR. BLUMENFELD:     On the motion for leave to file

    18      partial summary judgment motion, I believe that their

    19      response to that is due tomorrow.

    20                     The motion to dismiss or strike parts of our --

    21      of our answer and counterclaim, I think our response to that

    22      is due on the 22nd, if I'm remembering correctly, a week

    23      from today.

    24                     THE COURT:    All right.     Well, then, so let's

    25      just put that one aside.        And the motion for leave to file
       Case 3:17-cv-03848-RS
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      1     partial summary judgment, you know, I don't want an

      2     argument, but just what is the grounds, or what is it that

      3     you want to have in that motion?

      4                    MR. BLUMENFELD:      That is a motion, your Honor,

      5     directed at invalidity of both of these two patents, but not

      6     based on any claim construction issues; based on prior

      7     public uses under Section 102(b) of the statute.             And part

      8     of the point was that if we're correct about that, these

      9     claim construction issues go away because both patents go

    10      away.   But that is the basis for the motion.

    11                     THE COURT:    All right.     Okay.    Well, in any

    12      event, so you're going to file something saying why, either

    13      because of discovery not being finished, or for whatever

    14      reason, you're going to file something saying, don't grant

    15      leave to file this?

    16                     MR. CANTINE:     That would be our side, yes.        Yes,

    17      your Honor.

    18                     THE COURT:    Yes.

    19                     MR. CANTINE:     That's due tomorrow, unless your

    20      Honor wants to rule on it now.         I would be happy to take

    21      that.

    22                     THE COURT:    I don't.     I really literally just

    23      saw that there was such a motion, or maybe -- I don't know.

    24      I mean, I saw it.      Maybe I saw it physically.        I don't know

    25      what I saw, but I don't want to argue that.
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      1                    MR. CANTINE:      And I don't want to argue it here

      2     today either.     But in our view, your Honor, they filed three

      3     motions to dismiss, trying to get rid of the patents and the

      4     trademark.

      5                    THE COURT:       We're not arguing it.

      6                    MR. CANTINE:      This is the fourth bite at the

      7     apple before discovery has even begun.

      8                    THE COURT:       All right.   So why don't we just

      9     assume for the sake of argument that whether I allow the

    10      motion or I don't, that I'm not going to grant the motion

    11      for summary judgment, and so you can schedule based on that,

    12      and if it turns out I do, I guess you can go to appeal or

    13      something.

    14                     Okay.   All right.        Well, thank you.   I think

    15      we're going to be in recess.

    16                     (Court recessed at 11:53 a.m.)

    17                                  -    -   -

    18

    19

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    25
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                 EXHIBIT G
     Case 3:17-cv-03848-RS
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                                                                                                     I
                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
                                                                                                     I
                                                                                                     !


XPERTUNIVERSE, INC.,
                                                                                                     II
          Plaintiff,
                                                                                                     I
                                                                                                     !
        v.                                           Civil Action No. 09-157-RGA

CISCO SYSTEMS, INC.,
           Defendant.
                                                                                                     I
                                                                                                     I


                                   MEMORANDUM ORDER
                                                                                                     !I
        After having considered the claim construction submissions ofXpertUniv~, Inc.
                                                                                                     I
                                                                                ~y of April,
                                                                                                     I
("XU") and Cisco Systems, Inc., and hearing oral argument on the matter, this                        I

2012,

        IT IS HEREBY ORDERED that, as used in the asserted claims ofUnited States Patent
                                                                                                     I
Numbers 7,499,903 ("the '903 patent"), and 7,366,709 ("the '709 patent"), the terms below are        I
construed as follows.
                                                                                                     I
        A. The '903 Patent
                                                                                                     l!
                                                                                                     !
        The parties have agreed that "having a one-to-one correspondence" can be construed to        I
mean "satisfying the property that each member of each of the one or more layers of inquiry
                                                                                                     It
types maps exactly to a predetermined semantically expressed inquiry type," and that                 J

"predetermined semantically-expressed inquiry types" can be construed to mean "terms that            i
                                                                                                     t

organize and identify categories of assistance requested, created prior to use and expressed using
                                                                                                     !
                                                                                                     I
language that is humanly understandable." The Court adopts these constructions for purposes of       f
                                                                                                     II
this litigation. The Court rejects the parties' construction of"computer database"- "records         l
organized in computer readable/writeable memory" - as it not does clarify what the patentee
                                                                                                     I
                                                                                                     t
covered by the claims. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed.Cir.       t
                                                1                                                    t
                                                                                                     IJ
                                                                                                     t
     Case 3:17-cv-03848-RS
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1997) (emphasizing that the claim construction process should not devolve into an "exercise of

redundancy").

       1. "underlying plurality of criteria groupings" and "underlying criteria grouping(s)"

 XU's Proposed                No construction necessary. However, if the Court rules that one
 Construction                 is necessary, XU proposes the following construction:
                              "sets of collections of types of assistance requested, wherein
                              each collection can be a member of zero or more sets"
 Cisco's Proposed             "two or more groups of humanly understandable descriptors that
 Construction                 identify inquiry types" and
                              "groups ofhumanly understandable descriptors that identify an
                              inquiry type"
 Court's Construction         No construction of"underlying criteria grouping(s)" is
                              necessary. "Underlying plurality of criteria groupings" is
                              construed to mean "two or more groups of underlying criteria."
       The Court's construction is in accordance with plain and ordinary meaning. The parties'

additional proposed limitations do not aid the court or the jury in understanding the term as it is

used in the claimed invention, and repeat limitations already present in the claims.

       2. "skill-set database"

 XU's Proposed                   No construction necessary. However, if the Court rules that one
 Construction                    is necessary, XU proposes the following construction:

                                 "a digital storage and retrieval information system designed for
                                 storing associations between some or all of: agents and resources
                                 available, types of assistance requested, and expertise required
                                 for types of assistance requested"
 Cisco's Proposed                "records organized in a computer readable/writable memory
 Construction                    constituting the identity of individuals having unique knowledge
                                 on specific topics"
 Court's Construction            No construction necessary.


       Neither proposed construction clarifies the original term. See U.S. Surgical Corp., 103

F.3d at 1568. The intrinsic evidence offers no support for the knowledge being "unique."




                                                  2
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       3. "expert having individualized knowledge"

 XU's Proposed                 No construction necessary. However, if the Court rules that one
 Construction                  is necessary, XU proposes the following construction:

                               "a person in possession of information or expertise that is
                               relevant or material to a particular query"
 Cisco's Proposed              "person having unique, specialized knowledge on a specific
 Construction                  inquiry type"

 Court's Construction          No construction necessary.

       Neither proposed construction clarifies the original term. See U.S. Surgical Corp., 103

F.3d at 1568. The intrinsic evidence offers no support for the knowledge being "unique."

       4. "unique numerical routing identifier," "unique numeric routing identifier," and
       "numeric routing identifier"

 XU's Proposed                 No construction necessary. However, if the Court rules that one
 Construction                  is necessary, XU proposes the following construction:

                               "a mathematically distinct encoding for data relevant to an
                               inquiry"
 Cisco's Proposed              "fixed number that is associated with a semantically-expressed
 Construction                  inquiry type and an inquiry type in its corresponding layer that is
                               used to match and route user queries to an expert"
 Court's Construction          No construction necessary.


       Neither proposed construction clarifies the original term. See US. Surgical Corp., 103

F .3d at 1568. The term is readily understandable via the example of a phone number being a

unique number used to route a telephone call to a particular person. (D.I. 155 at 29).




                                                 3
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       5. "match and route system"

 XU's Proposed                  No construction necessary. However, if the Court rules that one
 Construction                   is necessary, XU proposes the following construction:

                                "an architecture that maps a resource or information request to
                                possible resources or information sources, and provides a link to
                                the identified resource(s) or information source(s)."
 Cisco's Proposed               "system that identifies an expert skill set that corresponds to a
 Construction                   user's query and routes the query based on the expert skill set"

 Court's Construction           No construction necessary.



       The term "match and route system" is a part of the preamble that is of no significance to

claim construction because it does not constitute or explain a claim limitation, and therefore does

not require construction. See '903 Patent, col.71.41, col.811.3, 6, 12, 16, 18; Pitney Bowes, Inc.

v. Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed.Cir.1999); see also (D.I. 155 at 27-29).

       6. "layer(s) of inquiry type(s)"

 XU's Proposed                  No construction necessary. However, if the Court rules that one
 Construction                   is necessary, XU proposes the following construction:

                                "a particular grouping of terms that organize and identify
                                categories of assistance requested"
 Cisco's Proposed               "a defined set of specific groupings of underlying criteria"
 Construction
                                "defined sets of specific groupings of underlying criteria"

 Court's Construction           "a defined set of predetermined semantically expressed inquiry
                                types"

       In the '903 Patent, the term "inquiry type" is used as a shorthand term having antecedent

basis in "predetermined semantically expressed inquiry types," for which the parties have agreed

upon a construction. The noun "inquiry type" is never introduced with an indefinite article ("a"

or "an") but rather only with "the," indicating it refers to an earlier term - "predetermined

semantically expressed inquiry type" - and the two terms are used interchangeably throughout


                                                  4
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the claims. There is no need to inject further language and potential confusion into the claims

when, as here, the claims and context make clear that "inquiry type" refers to "predetermined

semantically expressed inquiry type." See Personalized User Model LLP v. Google Inc., 2012

WL 295048, *24-25 (D. Del. Jan. 25, 2012).

       7. "inquiry type(s)"

 XU's Proposed                 No construction necessary. However, if the Court rules that one
 Construction                  is necessary, XU proposes the following construction:

                               "term(s) that organize and identify categories of assistance
                               requested"
 Cisco's Proposed              "a specific grouping of underlying criteria predetermined by the
 Construction                  organization and based on a user's criterion selections"

 Court's Construction          "term(s) that organize and identify categories of assistance
                               requested, created prior to use and expressed using language that
                               is humanly understandable"

       As explained above, the term "inquiry type(s)" is used as a shorthand term having

antecedent basis in "predetermined semantically expressed inquiry type(s)," which the parties

have agreed means "term(s) that organize and identify categories of assistance requested, created

prior to use and expressed using language that is humanly understandable."

       8. "receiving from the user a response to the presentation ofa first member of the
       underlying criteria grouping"

 XU's Proposed                 No construction necessary beyond those terms in the phrase,
 Construction                  whose construction is identified elsewhere in the chart (to the
                               extent the Court rules that the construction of those terms is
                               necessary).

 Cisco's Proposed              "receiving a user's response through an interactive problem
 Construction                  definition page to the display of a first member of the underlying
                               criteria grouping"
 Court's Construction          "receiving from the user a response to the display of a first
                               member of the underlying criteria grouping"




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        The Court agrees with the parties that most of the phrase does not require additional

construction, but the term "presentation" would benefit from construction. In construing that

term, Cisco argues that terms 8-11 incorporate "a key concept ofthe '903 patent: that the user's

interactions and selections are made using an interactive problem definition page." (D.I. 142 at

10). Cisco points out the '903 patent's many disclosures of a page or display as the user

interface, and correctly notes that "[t]he specification describes no other way of allowing a user

to interact with the system to make selections." See id. (citing fig. 2; col.3, ll.64-66; col.4, ll.3-5;

col.4, ll.48-51 ).

        The words "interactive problem definition page" appear only in the '709 patent. The two

patents are by the same inventors and generally address the same subject matter, but are not

otherwise related. It is not proper to import limitations between unrelated patents. See Integra

Lifesciences L Ltd. v. Merck KgaA, 331 F.3d 860, 868 (Fed.Cir. 2003). The Court construes

"presentation" to mean "display."

        9. "the response triggering the presentation offurther members of the underlying
        criteria grouping"

 XU's Proposed                   No construction necessary beyond those terms in the phrase,
 Construction                    whose construction is identified elsewhere in the chart (to the
                                 extent the Court rules that the construction of those terms is
                                 necessary).

 Cisco's Proposed                "the user's response causes further members of the underlying
 Construction                    criteria grouping to be displayed on an interactive problem
                                 definition page"
 Court's Construction            "the response triggering the display of further members of the
                                 underlying criteria grouping"

        The Court construes "presentation" to mean "display" for the reasons set forth in Section

8.




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       10. "upon a user's request for assistance with at least one of the predetermined               i
       semantically-expressed inquiry type"
                                                                                                      I
                                                                                                      !
 XU's Proposed                  No construction necessary beyond those terms in the phrase,
 Construction                   whose construction is identified elsewhere in the chart (to the
                                extent the Court rules that the construction of those terms is
                                necessary).
                                                                                                      I
 Cisco's Proposed               "upon a user selecting underlying criteria to identify at least one   I
 Construction                   humanly understandable grouping of underlying criteria using an
                                interactive problem definition page"
                                                                                                      I
                                                                                                      !


 Court's Construction           No construction necessary.
                                                                                                      I'
                                                                                                      !
                                                                                                      I
                                                                                                      I
       The parties agreed upon a construction for "predetermined semantically-expressed               I
                                                                                                      !
                                                                                                      I'
inquiry type," and no further construction of this term is required.

       11. "upon the receipt of a user request for assistance with at least one of the                I
       predetermined semantically-expressed inquiry type"                                             l
                                                                                                      I
 XU's Proposed                  No construction necessary beyond those terms in the phrase,           I
 Construction                   whose construction is identified elsewhere in the chart (to the       I
                                extent the Court rules that the construction of those terms is
                                necessary).                                                           I
 Cisco's Proposed               "upon receiving from an interactive problem definition page a
 Construction                   user's selection of criteria and their corresponding values that
                                                                                                      I
                                identify at least one humanly understandable grouping of               f!
                                underlying criteria"
                                                                                                      I!
 Court's Construction           No construction necessary.
                                                                                                       r


       The parties agreed upon a construction for "predetermined semantically-expressed

inquiry type," and no further construction of this term is required.
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       12. "the host server communicably connected with an inquiry-type database and a skill-
       set database"

 XU's Proposed                   No construction necessary beyond those terms in the phrase,
 Construction                    whose construction is identified elsewhere in the chart (to the
                                 extent the Court rules that the construction of those terms is
                                 necessary).

 Cisco's Proposed                "the host server directly connected through hardware and
 Construction                    software interfaces with an inquiry-type database and a skill-set
                                 database"

 Court's Construction            No construction necessary.



       The parties disagree only on whether "communicably connected" must be construed; it

does not.

       B. '709 Patent

       1. "subject list style"

 XU's Proposed                   No construction necessary. However, if the Court rules that one
 Construction                    is necessary, XU proposes the following construction:

                                 "the structural format for an interface used to enter information"
 Cisco's Proposed                "a graphical representation of the logical structure of a list of
 Construction                    inquiry criteria and values and their respective relationships"

 Court's Construction            "a representation of the logical structure of a list of inquiry
                                 criteria and values and their respective relationships"

       The '709 patent describes subject list styles as being used to categorize a user's inquiries,

as selected by the client. Col. 4, 11.23-29. Combinations of subject list styles are depicted in

figure 3B. Id. col.l, 11.66-67. The subject list styles are not limited to graphical representations

as Cisco argues, or information entry as XU argues, but rather, are broader, conceptual

relationships between criteria. See id.; id. Fig.3B. Other parts of the claims provide that the

values are "presented" via an "interactive problem definition page" - the mode of such

presentation (e.g., graphically or otherwise) is not a limitation on the term "subject list style" as

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Cisco argues. !d. col.8, ll. 65-67; col.9, ll.40-42.

        2. "member of an organization" I "member of the organization"

 XU's Proposed                   No construction necessary. However, ifthe Court rules that one
 Construction                    is necessary, XU proposes the following construction:

                                 "person associated with or authorized by an entity that is
                                 enabling use of the method or system described"
 Cisco's Proposed                "person belonging to a predetermined group or company"
 Construction

 Court's Construction            No construction necessary.

       Neither proposed construction clarifies the original term. See US. Surgical Corp., 103

F.3d at 1568.

        3. "inquiry type(s)"

 XU's Proposed                   No construction necessary. However, ifthe Court rules that one
 Construction                    is necessary, XU proposes the following construction:

                                 "term(s) that organize and identify categories of assistance
                                 requested"
 Cisco's Proposed                "a specific grouping of underlying criteria predetermined by the
 Construction                    organization and based on a user's criterion selections"

 Court's Construction            "question topics"

        XU's proposed construction tracks the parties' agreed-upon construction for

"predetermined semantically-expressed inquiry types" for the '903 patent, while Cisco's

proposed construction is drawn from the '903 patent itself at column 5, lines 13-16. Both

proposed constructions are essentially based on extrinsic evidence; limitations from the '903

patent do not limit the meaning of the term here, as used in the unrelated '709 patent. See
                                                                                                    (
                                                                                                    I
Integra Lifesciences, 331 F.3d at 868. The plain meaning of the term, which is preferable to the

parties' constructions based on what is essentially extrinsic evidence, is "question topics."
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        4. "inquiry criteria"

 XU's Proposed                  No construction necessary. However, if the Court rules that one
 Construction                   is necessary, XU proposes the following construction:

                                "term(s) that organize and identify categories of assistance
                                requested"
 Cisco's Proposed               "subject categories used to define a seeker's query displayed to a
 Construction                   user in an interactive problem definition page"

 Court's Construction           "pre-selected subject categories"

        The '709 patent clearly defines "inquiry criteria" as "pre-selected subject categories."

Col.2, 11.20-23; see Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed.Cir.1996)

("[A] patentee may choose to be his own lexicographer and use terms other than their ordinary

meaning, as long as the special definition of the term is clearly stated in the patent specification

or file history.").

        5. "underlying criteria"

 XU's Proposed                  No construction necessary beyond those terms in the phrase,
 Construction                   whose construction is identified elsewhere in the chart (to the
                                extent the Court rules that the construction of those terms is
                                necessary).
 Cisco's Proposed               "subject categories used to classify inquiry types according to a
 Construction                   client's business objectives and information needs of a user"

 Court's Construction           "subject categories"



        The '709 patent clearly defines "underlying criteria" as "subject categories." Col.2,

11.55-60; see Vitronics Corp., 90 F.3d at 1582 ("[A] patentee may choose to be his own
                                                                                                       I
                                                                                                       J

lexicographer and use terms other than their ordinary meaning, as long as the special definition

of the term is clearly stated in the patent specification or file history."). Cisco's additional

proposed limitations describing how the underlying criteria function in the system are addressed

by other claim terms. Col.2, 11.55-60; col.9, 11.4-5.


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       6. "values"

 XU's Proposed                 No construction necessary. However, if the Court rules that one
 Construction                  is necessary, XU proposes the following construction:

                               "an object, assigned to a variable, appropriately within the range
                               of possible objects that the variable is intended to represent"
 Cisco's Proposed              "criteria selections having a relationship to an inquiry criteria
 Construction                  and that can be displayed to a user in an interactive problem
                               definition page"

 Court's Construction          "choices"



       At oral argument, both XU and Cisco agreed that "values" in the context of the '709

patent means "choices." (D.I. 155 at 30, 81-82). Cisco's additional proposed limitations are

already represented by other claim terms. '709 Patent, col.9, ll,9-30; id. col.lO, 11.1-19,37-39.

       7. "interactive problem definition page"

 XU's Proposed                 No construction necessary. However, if the Court rules that one
 Construction                  is necessary, XU proposes the following construction:

                               "a responsive interface designed to facilitate either the
                               specification of assistance, or facilitate the specification of the
                               categories of assistance"
 Cisco's Proposed              "an interactive graphical user interface that uses a subject list
 Construction                  style displaying user-specific inquiry criteria and values to
                               guide the user in classifying an inquiry"

 Court's Construction          "an interactive graphical user interface"



       The word "interactive" does not need to be construed. As for "problem definition page,"

the '709 patent provides that "[t]he problem definition functionality is displayed in a Graphical

User Interface." Col.4, ll.44-48. Cisco's other proposed limitations are already represented by

other claim terms.




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       8. "inquiry criteria values"

 XU's Proposed                  No construction necessary. However, if the Court rules that one
 Construction                   is necessary, XU proposes the following construction:

                                "an object assigned to a variable representing collections of
                                types of assistance requested"
 Cisco's Proposed               "selections displayed to a user in an interactive problem
 Construction                   definition page"

 Court's Construction           "preselected subject category choices"


       Combining the Court's constructions of"inquiry criteria" and "values" for "inquiry

criteria values" logically captures the specification's description of inquiry criteria values as

"predetermined" values linked to inquiry criteria. '709 Patent, col.4, 11.4-22.

       9. "plurality of monitors"

 XU's Proposed                  No construction necessary. However, if the Court rules that one
 Construction                   is necessary, XU proposes the following construction for the
                                term "monitors" as used in claims 5 and 7:

                                "interactive communication devices"
 Cisco's Proposed               "two or more computer screens"
 Construction

 Court's Construction           "two or more monitors"
                                                                                                    I
                                                                                                    J

       The term "monitor" does not require construction. See U.S. Surgical Corp., 103 F.3d at
                                                                                                    l
1568. The construction of "plurality" is in accordance with plain meaning.                          I


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       10. "the processor being configured to extract unique combinations from the database
       and evaluate the combinations"

XU's Proposed                 No construction necessary. However, if the Court rules that one
Construction                  is necessary, XU proposes the following construction:

                              "the processor being configured to retrieve and analyze the
                              term(s) that organize categories of requests, the object(s)
                              assigned to related variables, and the structural format(s) for the
                              interface used to enter information"
 Cisco's Proposed             "the processor is programmed to extract unique combinations of
 Construction                 a user's query and an expert's skill set from records stored in
                              read/writable memory and to determine in real time the most
                              qualified expert for a user's query"

 Court's Construction         "the processor being programmed to extract unique
                              combinations from the database and evaluate the combinations"

       Construction is only required and helpful for the word "configured." See U.S. Surgical

Corp., 103 F.3d at 1568.




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